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                                  #:3911




                    EXHIBIT 1

                                     21
                                                     Robb Evans & Associates LLC Receiver of Sales Slash LLC et al.
                                              Receivership Administrative Expenses by Month and Fund Balance
                                                     From Inception (April 27, 2015) to November 30, 2016 and Estimate to Close




                                              Previously
                                              Reported &                                                                          8/1/16-     4/27/15-        Estimate to
                                               Approved          Aug 16           Sep 16          Oct 16          Nov 16          11/30/16    11/30/16           close         Total
     Receivership Funds Collected
        BMO Harris Bank N.A.                     49,620.02            0.00             0.00 '          0.00           0.00             0.00     49,620.02            0.00      49,620.02
       Cash Collected on Premises                 1,640.00            0.00             0.00            0.00           0.00             0.00      1,640.00            0.00       1,640.00
       ePay Data                                                                                                                                                                     0.00
          Sales Slash LLC                        31,979.15            0.00             0.00            0.00           0.00             0.00     31,979.15            0.00      31,979.15
       Total ePay Data                           31,979.15            0.00             0.00            0.00           0.00             0.00     31,979.15            0.00      31,979.15

       EVO Merchant Services LLC               2,326,073.40           0.00             0.00            0.00           0.00             0.00   2,326,073.40           0.00    2,326,073.40
       EVO Payments International
         Purist Choice LLC                       25,139.21            0.00             0.00            0.00           0.00             0.00     25,139.21            0.00      25,139.21
         Sales Slash LLC                         21,210.45            0.00             0.00            0.00           0.00             0.00     21,210.45            0.00      21,210.45
       Total EVO Payments International          46,349.66            0.00             0.00            0.00           0.00             0.00     46,349.66            0.00      46,349.66

       FDMS 51808999041217304272015              50,000.00            0.00             0.00            0.00           0.00             0.00      50,000.00           0.00      50,000.00
       Global Merchant Advisors
           Renvee LLC                            97,614.55            0.00             0.00            0.00           0.00             0.00     97,614.55            0.00      97,614.55
           Sales Slash LLC                      132,280.73            0.00             0.00            0.00           0.00             0.00    132,280.73            0.00     132,280.73




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       Total Global Merchant Advisors           229,895.28            0.00             0.00            0.00           0.00             0.00    229,895.28            0.00     229,895.28
                                                                                                                                                                                                                                    #:3912




       Merchants Bancard Network Inc.
         Optim Products LLC                     229,654.04            0.00             0.00            0.00           0.00             0.00    229,654.04            0.00     229,654.04
         Pcnway LLC                             344,959.16            0.00             0.00            0.00           0.00             0.00    344,959.16            0.00     344,959.16
         Renvee LLC                             203,122.50            0.00             0.00            0.00           0.00             0.00    203,122.50            0.00     203,122.50
         Sales Slash LLC                        725,119.61            0.00             0.00            0.00           0.00             0.00    725,119.61            0.00     725,119.61
       Total Merchants Bancard Network Inc.    1,502,855.31           0.00             0.00            0.00           0.00             0.00   1,502,855.31           0.00    1,502,855.31

       Meritus Payment Solutions
         Renvee LLC                                 462.71            0.00             0.00            0.00           0.00             0.00         462.71           0.00         462.71
       Total Merims Payment Solutions               462.71            0.00             0.00            0.00           0.00             0.00         462.71           0.00         462.71

       Mission Valley Bank                     2,717,318.51           0.00             0.00            0.00           0.00             0.00   2,717,31 S.51          0.00    2,717,318.51
        Moneris Solutions, Inc.                        0.00     57,614.77              0.00            0.00           0.00        57,614.77      57,614.77           0.00       57,614.77
       Secure Bancard                              3,135.91           0.00             0.00            0.00           0.00             0.00       3,135.91           0.00        3,135.91
       Wells Fargo Bank
          Apex Customer Care LLC                  8,364.92            0.00             0.00            0.00           0.00             0.00      8,364.92            .0.00      8,364.92
          E-Level Marketing Inc.                  3,171.83            0.00             0.00            0.00           0.00             0.00      3,171.83            0.00       3,171.83
          Future DNA LLC                         99,435.16            0.00             0.00            0.00           0.00             0.00     99,435.16            0.00      99,435.16
                                                                                                                                                                                                  Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 2 of 122 Page ID




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                                                   Robb Evans & Associates LLC Receiver of Sales Slash LLC et al.
                                            Receivership Administrative Expenses by Month and Fund Balance
                                                   From Inception (April 27, 2015) to November 30, 2016 and Estimate to Close




                                            Previously
                                            Reported &                                                                          8/1/16-      4/27/15-       Estimate to
                                             Approved          Aug 16           Sep 16           Oct 16         Nov 16          11/30/16     11/30/16          close         Total
           Geneva Shox LLC                       2,464.97           0.00             0.00            0.00           0.00              0.00       2,464.97          0.00       2,464.97
           Lead Kings LLC                           11.38           0.00             0.00            0.00           0.00              0.00          11.38          0.00          11.38
           Optim Products LLC                  85,054.86            0.00             0.00            0.00           0.00              0.00     85,054.86           0.00      85,054.86
           Penway LLC                         388,815.44            0.00             0.00            0.00           0.00              0.00    388,815.44           0.00     388,815.44
           Prisma Ventures LLC                      0.00            0.00             0.00            0.00           0.00              0.00           0.00          0.00           0.00
           Purepoint Marketing LLC             22,269.89            0.00             0.00            0.00           0.00              0.00     22,269.89           0.00      22,269.89
           Purists Choice LLC                 104,945.87            0.00             0.00            0.00           0.00              0.00    104,945.87           0.00     104,945.87
           Renvee LLC                          88,146.77            0.00             0.00            0.00           0.00              0.00     88,146.77           0.00      88,146.77
           Sales Slash LLC                    301,159.19            0.00             0.00            0.00           0.00              0.00    301,159.19           0.00     301,159.19
           Vision Geneva LLC                      239.06            0.00             0.00            0.00           0.00              0.00        239.06           0.00         239.06
           Vita Fuse LLC                      167,200.79            0.00             0.00            0.00           0.00              0.00    167,200.79           0.00     167,200.79
        Total Wells Fargo Bank               1,271,280.13           0.00             0.00            0.00           0.00              0.00   1,271,280.13          0.00    1.271.280.13


     Total Receivership Funds Collected      8,230,610.08     57,614.77              0.00            0.00           0.00         57,614.77   8,288,224.85          0.00    8,288,224.85

     Asset & Settlement Collections
        222 Monterey Rd. Payoff               115,222.43            0.00             0.00            0.00           0.00              0.00    115,222.43           0.00     115,222.43




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        Artur Ambarachyan Wire                 45,000.00            0.00             0.00            0.00           0.00              0.00     45,000.00           0.00      45,000.00
                                                                                                                                                                                                                                 #:3913




        Inventory Auction Proceeds             58,221.85            0.00             0.00            0.00           0.00              0.00     58,221.85           0.00      58,221.85
        Optim Products Loan P O-Fresno        101,855.00            0.00             0.00      10,000.00            0.00        10,000.00     111,855.00           0.00     111,855.00
        Renvee LLC Loan Payoff                222,888.89            0.00             0.00            0.00           0.00              0.00    222,888.89           0.00     222,888.89
     Total Asset & Settlement Collections     543,188.17            0.00             0.00      10,000.00            0.00        10,000.00     553,188.17           0.00     553,188.17

     Proceeds from Property Sale
        Sale - 141 San Pascual Ave.                 0.00            0.00      461,500.00             0.00           0.00        461,500.00    461,500.00           0.00     461,500.00
        Sale - 343 Pioneer                    118,377.09        2,274.64             0.00            0.00           0.00          2,274.64    120,651.73           0.00     120,651.73
        Sale - 13909 Yellowstone Dr.           96,242.10            0.00             0.00            0.00           0.00              0.00     96,242.10           0.00      96,242.10
     Total Proceeds from Property Sale        214,619.19        2,274.64      461,500.00             0.00           0.00        463,774.64    678,393.83           0.00     678,393.83

     Rents Collected
       141 San Pascual Ave                        975.32            0.00             0.00            0.00           0.00              0.00        975.32           0.00         975.32
        343 Pioneer Dr. Rent Collection        11,331.01            0.00             0.00            0.00           0.00              0.00     11,331.01           0.00      11,331.01
        4579 Don Ricardo Dr. Rent Colle          6,000.00           0.00             0.00            0.00           0.00              0.00       6,000.00          0.00        6,000.00
     Total Rents Collected                     18,306.33            0.00             0.00            0.00           0.00              0.00     18,306.33           0.00      18,306.33

     Miscellaneous Income
        Income Tax Refund                            0.00           0.00             0.00        6,000.00           0.00          6,000.00       6,000.00       5,400.00     11,400.00
                                                                                                                                                                                               Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 3 of 122 Page ID




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                                                       Robb Evans & Associates LLC Receiver of Sales Slash LLC et al.
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                                                       From Inception (April 27, 2015) to November 30, 2016 and Estimate to Close




                                                Previously
                                                Reported &                                                                          8/1/16-      4/27/15-       Estimate to
                                                 Approved          Aug 16           Sep 16           Oct 16         Nov 16          11/30/16     11/30/16          close         Total
           Interest Income                            821.S2           29.62            27.94           27.96          27.01           112.53         934.35           0.00         934.35
           Other                                       95.00            0.00             0.00            0.00           0.00              0.00         95.00           0.00          95.00
        Total Miscellaneous Income                    916.82           29.62            27.94        6,027.96          27.01          6,112.53      7,029.35        5,400.00     12,429.35


     Total Funds Collected                       9,007,640.59     59,919.03       461,527.94       16,027.96           27.01        537,501.94   9,545,142.53       5,400.00   9,550,542.53

     Expenses
       Real Property- Expenses
           180 Aspen Oak Lane
              Appraisal Fees                          400.00            0.00             0.00            0.00           0.00              0.00        400.00           0.00         400.00
              Insurance Premiums                      526.46            0.00             0.00            0.00           0.00              0.00        526.46           0.00         526.46
           Total 180 Aspen Oak Lane                   926.46            0.00             0.00            0.00           0.00              0.00        926.46           0.00         926.46

           343 Pioneer Dr. Glendale, CA
              Appraisal Fees                           475.00           0.00             0.00            0.00           0.00              0.00         475.00          0.00          475.00
              HOA Dues                               4,217.23           0.00             0.00            0.00           0.00              0.00       4,217.23          0.00        4,217.23
              Insurance Premiums                      538.85                                                                                          538.85                        538.85




24
                                                                        0.00             0.00            0.00           0.00              0.00                         0.00
              Mortgage                              8,408.58                                                                              0.00      8,408.58           0.00       8,408.58
                                                                                                                                                                                                                                     #:3914




                                                                        0.00             0.00            0.00           0.00
              Property Taxes                       10,731.26            0.00             0.00            0.00           0.00              0.00     10,731.26           0.00      10,731.26
           Total 343 Pioneer Dr. Glendale, CA      24,370.92            0.00             0.00            0.00           0.00              0.00     24,370.92           0.00      24,370.92

           915 N. Santa Anita Ave.
              Appraisal Fees                          300.00            0.00             0.00            0.00           0.00              0.00        300.00           0.00         300.00
           Total 915 N. Santa Anita Ave.              300.00            0.00             0.00            0.00           0.00              0.00        300.00           0.00         300.00

           3352 Brandon St.
              Appraisal Fees                          300.00            0.00             0.00            0.00           0.00              0.00        300.00           0.00         300.00
           Total 3352 Brandon St.                     300.00            0.00             0.00            0.00           0.00              0.00        300.00           0.00         300.00

           4440 Sandy River #43
              Appraisal Fees                           350.00           0.00             0.00            0.00           0.00              0.00        350.00           0.00         350.00
              HOA Fees                               1,759.00           0.00             0.00            0.00           0.00              0.00      1,759.00           0.00       1,759.00
              Insurance Premiums                        96.23           0.00             0.00            0.00           0.00              0.00          96.23          0.00          96.23
              Locksmith Services                       191.08           0.00             0.00            0.00           0.00              0.00         191.08          0.00         191.08
              Mortgage Payments                      5,299.18           0.00             0.00            0.00           0.00              0.00       5,299.18          0.00       5,299.18
           Total 4440 Sandy River #43                7,695.49           0.00             0.00            0.00           0.00              0.00       7,695.49          0.00       7,695.49
                                                                                                                                                                                                   Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 4 of 122 Page ID




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                                               Approved         Aug 16           Sep 16           Oct 16         Nov 16          11/30/16    11/30/16        close      Total


        4579 Don Ricardo Dr. Glendale
           Appraisal Fees                           475.00           0.00             0.00            0.00           0.00             0.00       475.00          0.00      475.00
           HOA Dues                               1,710.20           0.00             0.00            0.00           0.00             0.00     1,710.20          0.00    1,710.20
           Insurance Premiums                       296.35           0.00             0.00            0.00           0.00             0.00       296.35          0.00      296.35
           Mortgage                               8,333.32           0.00             0.00            0.00           0.00             0.00     8,333.32          0.00    8,333.32
           Repairs & Maintenance                   288.64            0.00             0.00            0.00           0.00             0.00       288.64          0.00      288.64
        Total 4579 Don Ricardo Dr. Glendale      11,103.51           0.00             0.00            0.00           0.00             0.00    11,103.51          0.00   11,103.51

        13909 Yellowstone Dr.
           Appraisal Fees                          650.00            0.00             0.00            0.00           0.00             0.00      650.00           0.00     650.00
           Electricity                               47.03           0.00             0.00            0.00           0.00             0.00        47.03          0.00      47.03
           Fire Prevention Fees                     117.33           0.00             0.00            0.00           0.00             0.00       117.33          0.00      117.33
           Insurance Premiums                       282.03           0.00             0.00            0.00           0.00             0.00       282.03          0.00      282.03
           Maintenance & Repairs                  1,150.00           0.00             0.00            0.00           0.00             0.00     1,150.00          0.00    1,150.00
           Property Taxes                          410.04            0.00             0.00            0.00           0.00             0.00       410.04          0.00      410.04
           Water                                   275.63            0.00             0.00            0.00           0.00             0.00       275.63          0.00     275.63




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        Total 13909 Yellowstone Dr.               2,932.06           0.00             0.00            0.00           0.00             0.00     2,932.06          0.00    2,932.06
                                                                                                                                                                                                                            #:3915




        14839 Sherman Way Unit 3
           Appraisal Fees                          350.00            0.00             0.00            0.00           0.00             0.00       350.00          0.00     350.00
           Insurance Premiums                      211.68            0.00             0.00            0.00           0.00             0.00       211.68          0.00     211.68
        Total 14839 Sherman Way Unit 3             561.68            0.00             0.00            0.00           0.00             0.00       561.68          0.00     561.68

        Property Value Reports                     180.00            0.00             0.00            0.00           0.00             0.00      180.00           0.00     180.00
     Total Real Property Expenses                48,370.12           0.00             0.00            0.00           0.00             0.00    48,370.12          0.00   48,370.12
     Business Operation Expenses
       Alarm & Fire Monitoring                      468.00           0.00             0.00            0.00           0.00             0.00       468.00          0.00     468.00
       Business Insurance Premiums                  998.75           0.00             0.00            0.00           0.00             0.00       998.75          0.00     998.75
       Business Taxes                             7,200.00           0.00             0.00            0.00           0.00             0.00     7,200.00          0.00    7,200.00
       Employer Payroll Taxes                     6,624.32           0.00             0.00            0.00           0.00             0.00     6,624.32          0.00    6,624.32
       Moving Services                              360.00           0.00             0.00            0.00           0.00             0.00       360.00          0.00      360.00
       Payroll Expense                           33,166.24           0.00             0.00            0.00           0.00             0.00    33,166.24          0.00   33,166.24
       Software License Fees                      5,864.70           0.00             0.00            0.00           0.00             0.00     5,864.70          0.00    5,864.70
       Utilities                                    794.96           0.00             0.00            0.00           0.00             0.00       794.96          0.00      794.96
       Warehouse Rent                            10,450.00           0.00             0.00            0.00           0.00             0.00    10,450.00          0.00   10,450.00
       Worker Compensation Insurance                311.14           0.00             0.00            0.00           0.00             0.00       311.14          0.00      311.14
                                                                                                                                                                                          Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 5 of 122 Page ID




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                                                   Robb Evans & Associates LLC Receiver of Sales Slash LLC et al.
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                                              Approved         Aug 16           Sep 16           Oct 16         Nov 16          11/30/16     11/30/16        close        Total
     Total Business Operation Expenses          66,238.11           0.00             0.00            0.00           0.00             0.00     66,238.11           0.00    66,238.11

     Receiver Fees & Expenses
        Receiver Fees
           Receiver
              R. Evans                              38.25           0.00             0.00            0.00           0.00             0.00         38.25           0.00        38.25
              B. Kane                           33,345.90        512.55            241.20         150.75           90.45           994.95     34,340.85        904.50     35,245.35
              K. Johnson                        32,592.15      1,356.75          1,085.40         301.50            0.00         2,743.65     35,335.80          0.00     35,335.80
              V. Miller                          3,527.55           0.00             0.00           0.00            0.00             0.00      3,527.55           0.00     3,527.55
              A. Jen                            33,617.25       2,170.80         1,115.55         301.50          211.05         3,798.90     37,416.15       4,221.00    41,637.15
           Total Receiver                      103,121.10       4,040.10         2,442.15         753.75          301.50         7,537.50    110,658.60       5,125.50   115,784.10

           Senior & Accounting Staff
              C. Callahan                       23,490.00         540.00             0.00            0.00           0.00           540.00     24,030.00           0.00    24,030.00
              C. DeCius                         11,133.00      1,728.00            144.00          261.00          36.00         2,169.00     13,302.00       1,800.00    15,102.00
              E. Roop                            6,952.50           0.00             0.00            0.00           0.00             0.00      6,952.50           0.00     6,952.50
              F.Jen                             81,314.55           0.00             0.00            0.00           0.00             0.00     81,314.55        301.50     81,616.05




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              J. Dadbin                          8,305.00          44.00             0.00           66.00           0.00           110.00      8,415.00           0.00     8,415.00
                                                                                                                                                                                                                              #:3916




              L. Lee                            21,346.20           0.00             0.00            0.00           0.00             0.00     21,346.20           0.00    21,346.20
              N. Wolf                             132.00            0.00             0.00            0.00           0.00             0.00        132.00           0.00       132.00
              N. Nafpliotis                      1,674.00           0.00             0.00            0.00           0.00              0.00     1,674.00           0.00     1,674.00
              T. Chung                          20,502.00           0.00             0.00            0.00           0.00              0.00    20,502.00           0.00    20,502.00
           Total Senior & Accounting Staff     174,849.25       2,312.00           144.00          327.00          36.00          2,819.00   177,668.25       2,101.50   179,769.75

           Support Staff                         5,530.60          72.40            90.80           39.80          12.80           215.80      5,746.40        500.00      6,246.40
        Total Receiver Fees                    283,500.95       6,424.50         2,676.95        1,120.55         350.30        10,572.30    294,073.25       7,727.00   301,800.25

        Receiver Expenses
           Bonanza Investigations, Inc.         15,130.00           0.00              0.00           0.00            0.00            0.00     15,130.00           0.00    15,130.00
           Computer Software & Hardware            663.45           0.00              0.00           0.00            0.00            0.00        663.45           0.00       663.45
           Information Search Costs              1,375.70           3.52              0.00          0.00             0.00            3 5?      1,379.22          0.00      1,379.22
           Locksmith Services                    1,449.60          0.00               0.00          0.00             0.00            0.00      1,449.60          0.00      1,449.60
           Postage & Delivery                    1,771.18        100.40            135.92         115.21             0.47          352.00      2,123.18        154.45      2,277.63
           Record Destruction                        0.00           0.00             0.00           0.00            0.00             0.00          0.00        700.00        700.00
           Tax Return Preparation                    0.00           0.00        13,935.74            0.00       1,434.26        15,370.00     15,370.00          0.00     15,370.00
           Travel Expenses                       1,288.30           0.00             0.00            0.00           0.00             0.00      1,288.30          0.00      1,288.30
           Website Support                       1,224.33           0.00           141.95            0.00            0.00          141.95      1,366.28         89.20      1,455.48
        Total Receiver Expenses                 22,902.56        103.92         14,213.61         115.21        1,434.73        15,867.47     38,770.03        943.65     39,713.68
                                                                                                                                                                                            Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 6 of 122 Page ID




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                                          Approved          Aug 16          Sep 16          Oct 16         Nov 16          11/30/16       11/30/16         close           Total

           Legal Fees & Costs
              Legal Fees                   295,075.00      13,585.50        11,095.50         947.74       1,260.00         26,888.74      321,963.74       13,000.00     334,963.74
              Legal Costs                    5,010.13         131.74            33.00         (58.43)         19.20            125.51        5,135.64        5,000.00      10,135.64
           Total Legal Fees & Costs        300,085.13      13,717.24        11,128.50         889.31       1,279.20         27,014.25      327,099.38       18,000.00     345,099.38

        Total Receiver Fees & Expenses     606,488.64      20,245.66        28,019.06       2,125.07       3,064.23         53,454.02      659,942.66       26,670.65     686,613.31
     Total Expenses                        721,096.87      20,245.66        28,019.06       2,125.07       3,064.23         53,454.02      774,550.89       26,670.65     801,221.54
     Other Expenses
        AMEX Claim Settlement                     0.00          0.00       488,270.99            0.00           0.00       488,270.99      488,270.99            0.00      488,270.99
        Distribution to Creditors                 0.00          0.00             0.00            0.00           0.00             0.00            0.00      267,335.34      267,335.34
        Distribution to FTC               5,000,000.00          0.00             0.00            0.00           0.00             0.00    5,000,000.00    2,993,714.66    7,993,714.66
     Total Other Expenses                 5,000,000.00          0.00       488,270.99            0.00           0.00       488,270.99    5,488,270.99    3,261,050.00    8,749,320.99

     Fund Balance                        3,286,543.72     39,673.37        (54,762.11)     13,902.89      (3,037.22)        (4,223.07)   3,282,320.65   (3,282,320.65)          0.00




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                                                                                                                                                                                                                                #:3917
                                                                                                                                                                                              Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 7 of 122 Page ID




                                                                                                                                                                                Page 6 of 6
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                                  #:3918




                    EXHIBIT 2

                                     28
                                                                           Robb Evans Associates LLC, Receiver of Sales Slash et al.
                                                                                         Proposed Creditor Distributions

     Entity            Company Name                  Address 1               Address 2               City                  State       Zip Code     Amount Claim       Proposed
                                                                                                                                                           Amount over Distribution
                                                                                                                                                           $50.00
     Apex Customer      AT&T                         P.O. Box 5025                                   Carol Stream          IL          60197-5025     279.85       S279.85      S51.61
     (/are 1,1 ,C
     Apex Customer     Charter Communications        P.O. Box 60229                                  Los Angeles           CA          90060-0229     395.49       S395.49      S72.93
     Care I.l.C
     Apex Customer     Live 9 Inc. c/o Law Offices   14226 Ventura Blvd.                             Sherman Oaks          CA          91413         4,011.09    $4,011.09     S739.66
     Care LLC          of Kenneth Freed
     Renvee LLC         Franchise Tax Board          Special Procedures      P.O. Box 2952           Sacramento            CA          95812-2952    1,345.65    SI,345.65     S248.14
                                                     Section
     Fenway LLC         Franchise Tax Board          Special Procedures      P.O. Box 2952           Sacramento            CA          95812-2952    7,309.78    S7,309.78    SI,347.95
                                                     Section



     Purists Choice LLC Franchise Tax Board          Special Procedures      P.O. Box 2952           Sacramento            CA          95812-2952   10,441.25   SI 0,441.25   SI,925.40
                                                     Section




29
     Optim Products     Franchise Tax Board          Special Procedures      P.O. Box 2952           Sacramento            CA          95812-2952    5,330.96    S5,330.96     S983.05
                                                                                                                                                                                                                            #:3919




     LLC                                             Section



     Future ON A LLC    Franchise Tax Board          Special Procedures      P.O. Box 2952           Sacramento            CA          95812-2952    4,232.54    S4,232.54     S780.49
                                                     Section



     Vita I -use LLC    Franchise Tax Board          Special Procedures      P.O. Box 2952           Sacramento            CA          95812-2952    3,133.13    53,133.13     S577.76
                                                     Section



     Oprim Producrs.    |T Legal Croup, A PC         101 N. Brand Blvd.                              Glendale              CA          91203        23,425.00   S23,425.00    $4,319.65
     LLC                                             #1920


     \pex Customer      Lisa Cabrera                 2731 7th Ave.                                   Los Angeles           CA          90018          700.00       $700.00     SI 29.08
     Care LLC!
                                                                                                                                                                                          Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 9 of 122 Page ID
                                                                             Robb Evans Associates LLC, Receiver of Sales Slash et al.
                                                                                           Proposed Creditor Distributions


     Entity              Company Name                  Address 1               Address 2               City                  State       Zip Code        Amount Claim       Proposed
                                                                                                                                                                Amount over Distribution
                                                                                                                                                                $50.00
     Sales Slash 1J ,0   Nutri-Force Nutrition, Inc.   630 Third Avenue                                New York              NY          10017-6705   1,254,375.55 SI,254,375.55   S231,310.94
                         c/'o Kaplan Kravet & Yogcl
                         P.C
                         Sobelman, Cohen, Moss &       21031 Yentura Blvd.     Suite 210               Woodland Hills        CA          91364           1,871.75      51,871.75      S345.16
                         Assoc. LLP
     Apex Customer       The Gas Company               P.O. Box C                                      Monterey Park         CA          91756-5111        373.30       S373.30        S68.84
     Care
     ()prim Products     Ycnablc                       P.O. Box 62727                                  Baltimore             MD          21264-2727    132,506.84    5132,506.84    S24.434.69
     LLC


     Total                                                                                                                                            1,450,740.75 SI,449,732.18   S267,335.34




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                                                                                                                                                                                                                                    #:3920
                                                                                                                                                                                                 Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 10 of 122 Page ID
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                                   #:3921




                     EXHIBIT 3

                                     31
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                                      #:3922


Robb Evans & Associates LLC
                                                                                                           Invoice
Sun Valley, CA 91352
                                                                                                 Dntc        Invoice "

                                                                                              8/3 1/2016      SS 15




            Bill To

       Robb Evans, Receiver of Sales Slash




                                                                                                           P.O. No.




                            Description                               Qty              Rale                Amount

For professional services provided from 8/1/16 to 8/3 1/16 by:
B. Kane                                                                      1.7              301.50             512.55
K. Johnson                                                                   4.5              301.50           1.356.75
A. Jen                                                                       7.2              301.50           2,170.SO
C. Callahan                                                                  2.4              225.00             540.00
C. DeCius                                                                   19.2               90.00           1.728.00
J. Dadbin                                                                    0.8               55.00              '14.00
Support Staff                                                                                                     72.40




                                                                                   Total                      $6,424.50




                                                                 32
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                                   #:3923




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   August-16
 Name:                Brick Kane



          Date                .          Description                   Hours    Coding
        8/16/16       Discussion with C. Welin re: i

                                                                          0.70 B110
        8/19/16       Review and approve draft stipulation with
                      American Express                                    0.10 B110
        8/24/16       Review and approve receiver's financial reoort      0.10 B110
        8/29/16       Discussion with C. Crowell re:
                                                                          0.10 B110
        8/29/16       Research estate closing issues and email C.
                      Crowell re:
                                                                          0.30 B110
        8/31/16       Review and edit motion and declarations             0.40 B110




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                                   #:3924




 Fee Claims for:          Robb Evans & Associates LLC
 Case:                    Sales Slash LLC et al.
 For the Month of :       August-16
 Name:                    Kenton Johnson



          Date        [                    Description                    Hours     Coding
         8/1/16        Additional follow-up discussion to clarify the
                       ownership of the Santa Anita Avenue property
                       and the details of the assigned note and deed of
                       trust. Review additional documents. Determined
                       next actions.                                         0.60 B130
         8/1/16       Read email letters from the attorney for the
                      defendants claiming some receivership
                      obligations remain unpaid. Confer with others
                       and consider response.                                0.20 B130
         8/2/16       Prepare, edit, and forward response to the
                      attorney for the defendants about receivership
                      obligations.                                           0.20 B130
        8/11/16       Prepare detailed response with request
                      deadlines to Wells Fargo bank for the needed
                      information about the delinquency condition of
                      the superior deed of trust on the North Santa
                      Anita Avenue property. Read out of office
                      automatic reply.                                       0.40 B130
        8/11/16       Prepare and forward request to referenced
                      supervisor of the Wells Fargo bank officer
                      requesting immediate assistance with the
                      information request.                                   0.10 B130
        8/11/16       Prepare and forward cover letter to the potential
                      purchaser of the notes secured by the deed of
                      trust on property at North Santa Anita Avenue.
                      Explain delays caused by Wells Fargo bank and
                      request additional time to work on the proposed
                      purchase.                                              0.20 B130
        8/12/16       Prepare and forward follow-up letter to Wells
                      Fargo Bank describing lack of response from the
                      officer's managers. Request immediate
                      response on Monday to our outstanding requests
                      for information about the condition and terms of
                      the senior loan on the property at North Santa
                      Anita Avenue.                                          0.20 B130
        8/16/16       Prepare and forward detailed follow-up letter to
                      Wells Fargo Bank stating the Receiver will file
                      complaints with the OCC if the request for
                      information is not completed immediately.              0.20 B130
        8/18/16       Read the response from Wells Fargo bank
                      agreeing to provide a payoff statement. Review
                      the payoff statement forwarded. Note confusion
                      about the date of the next scheduled monthly
                      payment.                                               0.20 B130




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 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   August-16
 Name:                 Kenton Johnson



          Date                           Description                       |   Hours   I   Coding
        8/18/16       Prepare and forward letter to Wells Fargo Bank
                      requesting answers to the question about the
                      next scheduled monthly payment and whether or
                      not a notice of default exists.                             0.10 B130
        8/18/16       Prepare and forward updated email to the
                      potential note buyer with loan status details
                      forwarded from Wells Fargo bank. Request
                      additional time to get final questions answered
                      and complete the sale transaction.                          0.10 B130
        8/22/16       Read the additional response from Wells Fargo
                      bank and note two unanswered questions.
                      Prepare and forward request to complete the
                      inquiry. Forward the responses to the
                      perspective note buyer noting additional follow-up
                      in progress.                                                0.20 B130
        8/22/16       Receive answers to the two remaining questions
                      from Wells Fargo bank. Forward information to
                      the potential asset buyer and request a decision
                      on purchase.                                                0.20 B130
        8/25/16       Prepare and forward request to the potential note
                      buyer requesting decision. Read response about
                      the reduced comfort level and a new low offer.
                      Consider responses.                                         0.20 B130
        8/29/16       Go over response from potential buyer with the
                      renewed reduced offer for the Santa Anita
                      Avenue note. Prepare and forward email to
                      others proposing a counter. Read responses.                 0.20 B130
        8/29/16       Call to attorney Welin about documenting a note
                      sale to be paid by the buyer.                               0.10 B130
        8/29/16       Read email from attorney about filings.                     0.10 B130
        8/30/16
                      Call to Fairview partners and leave message with
                      counterproposal for sale of the notes secured by
                      the North Santa Anita Avenue property.                      0.10 B130
        8/30/16       Read and respond to attorney about the payoff of
                      the assigned notes secured by the sand Pascual
                      property.                                                   0.10 B130
        8/30/16       Research details of the original note and deed of
                      trust for the payoff of the note secured by the
                      San Pascual property.                                       0.10 B130
        8/30/16
                      Review files. Locate the completed assignment
                      forms and the original note and deed secured by
                      the sent the squall property. Confer with attorney
                      Fletcher and get needed actions arranged.                   0.20 B130




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 Fee Claims for:      Robb Evans & Associates LLC
 Case :               Sales Slash LLC et al.
 For the Month of :   August-16
 Name :                Kenton Johnson



          Date                          Description                   Hours   |   Coding
        8/31/16       Discussion with attorney Welin about

                                                                         0.10 B130
        8/31/16       Read and reply to emails about settlement
                      amounts due from the individual defendants.        0.10 B130
        8/31/16       Go over asset resolution details with others.      0.10 B130
        8/31/16       Re-documents proposed to file for fees and
                      asset disposition results.                         0.20 B130




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 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   August-16
 Name:                    Anita Jen



          Date        I                  Description                       Hours   |   Coding |
         8/1/16
                      talked to Teresa Dong from CA EDD, she said
                      she just received our claim verification form late
                      last week and cannot locate anything for the
                      company. I notify her that the claims bar date
                      was 7/15/16 as stated on the letter. But she
                      requests tax IDs for the receivership defendants,
                      we went through the list of tax ids and she note
                      that there is no claims for any of the companies,
                      and also note that everything is closed for these
                      companies. She said that she is forwarding the
                      claims verification to bankruptcy department for a
                      deeper search, I notify her again that according
                      to the verification letter she received the claims
                      bar date was 7/15/16. So any claims that they
                      might have is barred, and asked her to also notify
                      the department personnel that she is forwarding
                      the letter to.                                          0.30 B310
         8/3/16       Follow up with Wells Fargo re : mortgage                0.10 B310
         8/4/16
                      Received funds released from Monery Solutions;
                      request accounting; update summary schedule             0.30 B110
         8/8/16       Prepare FTC Receiver Asset report                       0.70 B110
        8/11/16       Update summary schedule with receipt and
                      request for accounting from Monery Solutions            0.30 B110
        8/16/16       Discussions with C. Welin, C. Crowell, B. Kane
                      re:.                                                    0.30 B110
        8/16/16       Discussion wun R. Han re : 2015 and 2016 final
                      tax returns                                             0.20 B240
        8/16/16       Prepare supporting schedule for updating
                      accounting                                              0.80 B110
        8/16/16       Prepare supporting schedule for updating
                      accounting                                              0.10 B110
        8/18/16       Prepare supporting schedule for updating
                      accounting                                              0.10 B110
        8/18/16       Review and redact invoices for filing                   0.60 B110
        8/24/16       Prepare fee application report                          1.60 B160
        8/24/16       Discussion with C. DeCius re : creditor list            0.10 B310
        8/30/16       Review and Sign tax returns for 2015; phone
                      conversation with Maria Narciso of Franchise
                      Tax Board at (916) 845-3067 re: final returns for
                      2015 and remaining returns for 2016, request for
                      urgent review and update on claims for the
                      closed companies                                        0.60 B240
        8/30/16       Prepare creditor list for service                       0.20 B110
        8/31/16       Review and edit motion and declarations                 0.90 B110



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 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   August-16
 Name:                Anita Jen



          Date                       Description      Hours    Coding




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 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   August-16
 Name:                Coleen Callahan



         Date                            Description                   Hours    Coding
        8/1/16        Request updated Prelim and obtain updated
                      profile on Santa Anita property. Follow           1.6
                      information threads from research.                       B130
        8/2/16        Skip trace Mr. Katrdjian                          0.8    B130
        8/24/16       Assist Associate with nature of check received    0.0
                      from Pioneer Tenant in April                             B130




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                                   #:3930




  Fee Claims for:      Robb Evans & Associates LLC
  Case:                Sales Slash LLC et al.
  For the Month of :   August-16
  Name:                 Carl DeCius



           Date                          Description                      Hours     Coding
          8/2/16
                       Review documents and correspondence. Review
                       emails from associates regarding insurance and
                       final payment of property expenses.                   0.40 B130
          8/2/16       Review documents and correspondence. Update
                       accounting information and process payables.
                       File maintenance.                                     1.20 B110
          8/3/16       Review case documents and correspondence.
                       Update accounting information and process
                       payables. File maintenance.                           0.90 B110
          8/8/16       Review multiple emails from associates
                       regarding claim and filing matters.                   0.10 B310
          8/8/16       Multiple phone calls with legal firm and vendors
                       regarding outstanding billing matters.                0.20 B110
          8/8/16       Review case documents and emails. Update
                       accounting information and process payables.
                       Prepare accounting information for final
                       estimates and reporting. File maintenance.            2.40 B110
          8/9/16       Review creditor documents and correspondence
                       and update claim information.                         0.80 B310
          8/15/16      Review multiple emails from associates
                       regarding claim and filing matters. Download
                       documents. Work on updating creditor claim
                       information.                                          1.00 B310
          8/15/16      Review case documents and correspondence.
                       Update accounting information and process
                       payables. File maintenance.                           0.90 B110
          8/16/16      Finish review of legal invoices. Send email and
                       documents to attorney to resolve outstanding
                       billing matters.                                      0.20 B110
          8/16/16      Review documents and correspondence. Update
                       accounting information and process payables.
                       File maintenance.                                     0.50 B110
          8/16/16      Review creditor documents and correspondence
                       and update claim information.                         0.30 B310
          8/17/16      Update accounting information and process
                       payables. Review and update class codes.              0.50 B110
          8/17/16      Email exchanges with legal regarding updated
                       billing documents.                                    0.10 B110
          8/18/16      Review June 2016 master insurance policy
                       billing. Advise broker of billing discrepancies.
                       Prepare billing documents and process
                       payments. Prepare and submit July 2016 report
                       to carrier.                                           0.40 B110
          8/18/16      Review creditor documents and correspondence
                       and update claim information.                         0.70 B310



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  Fee Claims for:      Robb Evans & Associates LLC
  Case:                Sales Slash LLC et al.
  For the Month of :   August-16
  Name:                Carl DeCius



           Date                          Description                      Hours   |   Coding |
          8/19/16      Update accounting information and process
                       payables. Review and update class codes.              0.60 B110
          8/23/16      Review case documents and correspondence.
                       Update accounting information and process
                       payables. File maintenance.                           0.60 B110
          8/24/16      Email exchanges with bank regarding
                       documentation on deposits.                            0.10 B110
          8/24/16      Review case documents and correspondence.
                       Update accounting information and process
                       payables. File maintenance.                           0.80 B110
          8/24/16
                       Work on review of creditor claim documents and
                       correspondence and verify against existing claim
                       information; update claim information and notes.      0.90 B310
          8/25/16
                       Work on review of creditor claim documents and
                       correspondence and verify against existing claim
                       information; update claim information and notes.      0.80 B310
          8/29/16
                       Work on review of creditor claim documents and
                       correspondence and verify against existing claim
                       information; update claim information and notes.      2.20 B310
          8/30/16
                       Work on review of creditor claim documents and
                       correspondence and verify against existing claim
                       information; update claim information and notes.      2.60 B310




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 Fee Claims for:      Robb Evans & Associates LLC
 Case :               Sales Slash LLC et al.
 For the Month of :   August-16
 Name :               Jacklin Dadbin



           Date                        Description                    Hours    Coding
          8/1/16      Contact tenant via email and phone regarding
                      rent payment.                                      0.20 B130
          8/1/16      Communicate with the note holder, tenant, and
                      HOA regarding Don Ricardo being abandoned
                      and contact original buyer.                        0.60 B130




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                                   #:3933




                                               Manuel Chen
                                 Fee Claim for Robb Evans & Associates LLC
                                        Case : Sale Slash LLC. et al.
                                                        7-Aug-16
                                                        13-Aog-16



         Date                                    Description                                  Hours
       7-Aug-16                                                                               0.00

       8-Aug-16                                                                               0.00

       9-Aug-l 6                                                                              0.00

       10-Aug-l 6                                                                             0.00

       11-Aug-l 6 Prepared deposit to First Republic Bank, Made copies of check and deposit   0.40
                  slip for Carl DeCius and Jacklin Dadbin, Scanned, saved and emailed all             B no
                  the copies to Jackie, E-mailed information to Susan Mendez and Paul
                  Cortez of FRB.
       12-Aug-16                                                                              0.00

       13-Aug-16                                                                              0.00

                                                                                              0.40


                                                                I


                                                      Manuel Chen




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                                             Manuel Chen
                               Fee Claim for Robb Evans & Associates LLC
                                      Case : Sale Slash LLC. et al.
                                                     21-Aug-16
                                                     27-Aug-16



          Date                                Description                  Hours
      21 -Aug-) 6                                                          0.00

      22-Aug-16                                                            0.00

      23-Aug-16 Matched check and invoice, Outgoing mail ( payables).      0.20     &n o


      24-Aug-l 6                                                           0.00

      25-Aug-l 6                                                           0.00

      26-Aug-16                                                            0.00

      27-Aug-I6                                                            0.00

                                                                           0.20
                                                             0.
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                                                       I

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                                                   Manuel Chen




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                                                Imelda Perez
                                 Fee Claim for Robb Evans & Associates LLC
                                        Case : Sale Slash LLC. et al.
                                                          0-Jan-00
                                                          6-Aug-16



        Date                                      Description                               Hours
      0-Jan-00                                                                              0.00

      1-Aug-l 6                                                                             0.00

      2-Aug-l 6                                                                             0.00

      3-Aug-l 6                                                                             0.00

      4-Aug-l 6    Faxed correspondence and documents to Wells Fargo Bank to follow up on   0.10
                   request.

      5-Aug-16                                                                              0.00

      6-Aug-l 6                                                                             0.00

                                                                                            0.10



                                              i
                                              V
                                                        Imelda Perez




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                       M.                    _
                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. et al.
                                                            14-Aug-16
                                                            20-Aug-U



         Date                                        Description                                      Hours
       M-Aug-16                                                                                       0.00

       15-Aug-l 6                                                                                     0.00

       16-Aug-16                                                                                      0.00

       17-Aug-16                                                                                      0.00

       18-Aug-16 Print and faxed Real Estate Report Form to Uyods & Assoc. for C. DeCius.             0.10            BllO

       I9-Aug-16                                                                                      0.00

       20-Aug-1 6                                                                                     0.00

                                                                                                      0.10


                                                 (

                                                           Imelda Perez




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                                                                           V.




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                                   #:3937




                                                                                    •rTr.7.:



                                               Imelda Perez
                                Fee Claim for Robb Evans & Associates LLC
                                        Case : Sale Slash LLC. et al.
                                                        21-Aug-16
                                                              £L
                                                        27-Aua-H



         Date                                   Description                 Hours
      21-Aug-16                                                             0.00

      22-Aug-16                                                             0.00

      23-Aug-! 6                                                            0.00

      24-Aug-16                                                             0.00

      25-Aug-16 Filed paid invoices and check stubs.                        0.10               BMo

      26-Aug-16                                                             0.00

      27-Aug-l 6                                                            0.00

                                                                            0.10




                                                       Imelda Perez




                                                                                         /




                                                       47
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 28 of 122 Page ID
                                   #:3938




                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. et al.
                                                           28-Aug-16
                                                            0-Jan-00



         Date                                      Description                              Hours
       28-Aug-l 6                                                                           0.00

       29-Aug-16                                                                            0.00

       30-Aug-l 6 Made copy of signed pages of tax returns for various entities; prepared   1.30    b m o
                  FedEx package to FTB; prepared certified mail to IRS; made copy of
                  postage paid envelopes for file; update tax prepared list and print.

       31 -Aug-16 Scanned B. Kane's Declaration and saved on J Drive.                       0.10



       0-Jan-00                                                                             0.00

       0-Jan-00                                                                             0.00

       0-Jan-00                                                                             0.00

                                                                                            1.40




                                                        Imelda Perez




                                                      48
  Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 29 of 122 Page ID
                                     #:3939


Robb Evans & Associates LLC
                                                                                                        Invoice
Sun Valley, CA 91352
                                                                                              Date        Invoice   ft

                                                                                            9/30/2016       SS 16




          Bill To

       Robb Evans, Receiver of Sales Slash




                                                                                                         P.O. No.




                            Description                              Qty             Rate               Amount

For professional services provided from 9/1/16 to 9/30/16 by:
B. Kane                                                                    0.8              301.50             241.20
K. Johnson                                                                 3.6              301.50           1,085.40
A. Jen                                                                     3.7              301.50           1,115.55
C. DeCius                                                                  1.6               90.00             144.00
Support Staff                                                                                                   90.80




                                                                                 Total                      $2,676.95




                                                                49
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                                   #:3940




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   September-16
 Name :               Brick Kane



          Date                         Description                      Hours    Coding
          9/1/16      Review and make further revisions to update and
                      motion to approve fees                               0.20 B110
          9/7/16      Work on verification and calculation for
                      distributions to creditors                           0.60 B310




                                                Page 1


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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 31 of 122 Page ID
                                   #:3941




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   September-16
 Name :                    Kenton Johnson



         Date         in               i
                                           Description
                                            iJ——                    —..I..
                                                                             Hours   I   Coding
         9/6/16       Email exchannp with Rorok/er's attorney about
                                                                                0.10 B130
         9/6/16       Read offer from Fairview partners for Santa Anita
                      Ave. note. Forward comments to attorney and
                      others.                                                   0.20 B130
         9/6/16       Read the

                      by the Receiver's attorney Fletcher. Review with
                      others and agree on format. Prepare to
                      complete.                                                 0.20 B130
         9/7/16       Additional Email exchanges about the proceeds
                      received from the San Pasqual note and need to
                      confirm Trustee proceeds.                                 0.20 B130
         9/7/16       Read responses from the Receiver's attorney by

                             Forward request to follow-up for original
                      documents and other issues to complete the
                      sale.                                                     0.20 B130
         9/7/16       Read multiple emails confirming the closing of
                      the sale of the San Pascual property and the
                      Receiver and Trustee each received its correct
                      portion of the net sale proceeds.                         0.20 B130
         9/7/16
                      Locate the original note and deed of trust and the
                      assignment documents to the Receiver. Prepare
                      cover letter forwarding the original documents to
                      the Trustee. Review and sign the letter.                  0.30 B130
         9/7/16       Read, consider, and confirm actions needed to
                      complete the sale of the note secured by North
                      Santa Anita Drive property. Read reply to
                      attorney's questions.                                     0.20 B130
         9/7/16       Follow-up to confirm defendants will sign the
                      original note and deed of trust to the receiver or
                      directly to the asset purchaser.                          0.10 B130
         9/8/16       Complete initial review of the proposed note sale
                      agreement. Forward questions to attorney Welin
                      and read reply.                                           0.20 B130
        9/12/16       Read and reolv to attorney Welin about

                                                                                0.10 B130
        9/12/16
                      Discussion with attorney Welin about

                                                                                0.10 B130




                                                  Page 1


                                                  51
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 32 of 122 Page ID
                                   #:3942




  Fee Claims for:      Robb Evans & Associates LLC
  Case:                Sales Slash LLC et al.
  For the Month of :   September-16
  Name:                Kenton Johnson



          Date                           Description                      Hours    Coding
         9/13/16
                       Read several emails and the proposed sales
                       agreement with Fairview partners for the note
                       secured by the North Santa Anita Avenue
                       property. Forward reply to attorney Welin
                                                                             0.30 B130
         9/14/16       Review the revised version of the loan sale
                       agreement forwarded to the potential buyer. Go
                       over exchange of emails with the Receiver's
                       attorney and the potential buyer.                     0.20 B130
         9/15/16       Read follow up with the attorney for documents
                       needed to complete the sale of the Santa Anita
                       Avenue note. Call with the Receiver's attorney
                       about
                                                                             0.20 B130
         9/16/16       Read the final actions and arrangements to
                       complete documents for the sale of the Santa
                       Anita Avenue note.                                    0.10 B130
         9/19/16       Read and respond to letter from the purchaser of
                       the Santa Anita Avenue note with final details
                       including wiring instructions.                        0.10 B130
         9/19/16       Follow up with the Receiver's attorney on

                                   . Read reply.                             0.10 B130
         9/20/16       Review the signed LSA forwarded by the
                       purchaser of the Santa Anita Avenue note.             0.20 B130
         9/21/16       Call to defendant Haroutounian about returning
                       the documents to complete the sale of the note
                       secured by the Santa Anita Avenue property.
                       Ineffective voice message. Deliver update to the
                       Receiver's attorney.                                  0.20 B130
         9/27/16       Follow up and direct action to contact V.
                       Harotounian for note sale documents.                  0.10 B130




                                                  Page 2


                                                  52
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 33 of 122 Page ID
                                   #:3943




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   September-16
 Name :                Anita Jen



           Date                          Description                          Hours | Coding ~l
          9/1/16       Review motion and declaration                              0.50 B110
          9/6/16      Phone discussion with Maria of CA Franchise
                      Tax Board re : claims and refunds                          0.50 B310
          9/7/16      Received incoming wire, notify all parties                 0.10 B110
          9/7/16      Received email from Venable to check for
                      claims, reply by calling and email re : status of
                      claim                                                      0.20 B310
          9/7/16      Review creditor list, discussions on distribution
                      with B, Kane                                               0.60 B310
           9/8/16     Provide expense on cash basis to FTC                       0.30 B110
           9/8/16     Notarize document                                          0.00 B130
          9/12/16     Coordinate AMEX payment                                    0.20 B310
          9/19/16     Phone discussion with Maria of CA Franchise
                      Tax Board re : claims and refunds                          0.10 B310
          9/19/16     Phone discussion with Maria of CA FTB re :
                      Penway LLC; prepare fax of Wells Fargo account
                      application to Maria to show that Penway is and
                      S Corp                                                     0.30 B310
          9/20/16     Provide wire instruction                                   0.10 B110
          9/22/16     Reply email to C. Welin : re :

                                                                                 0.60 B110
          9/27/16     Review tax bill and match with Stipulation and
                      min Order to pay                                           0.10 B110
          9/28/16     Phone conversation with Alex Weingarten re: his
                      claim and explained to him that we are waiting for
                      one of the defendant to sign the stipulation for
                      the final sale of note to happen to received the
                      final funds in the estate. So that we can file the
                      final tax returns for Optim and so the FTB can
                      finalized the claim for the claim procedure. So
                      the Judge can approve the claim procedure and
                      pay the claims. Also told him the claim will be
                      paid In proportion on the total claim, he does not
                      agree. Told him that he is on the creditor list,
                      and will be notified of the filing of the final claim
                      procedure                                                  0.10 B310




                                                   Page 1


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                                   #:3944




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   September-16
 Name :               Coleen Callahan



          Date                            Description                     Hours    Coding
          9/8/16      Obtain signature of Deputy to the Receiver on        0.0
                      Substitution of Trustee and Full Reconveyance for
                      San Pasqual proprety for Notary to notarize;
                      prepare letter to Escrow and forward                        B130




                                                 Page 1

                                                  54
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 35 of 122 Page ID
                                   #:3945




 Fee Claims for:      Robb Evans & Associates LLC
 Case :               Sales Slash LLC et al.
 For the Month of :   September-16
 Name:                Carl DeCius



          Date                         Description                   Hours    Coding
         9/9/16       Email exchanges and discussions with
                      associates regarding AMEX settlement; review
                      order and documents; process payment.             0.40 B310
         9/12/16      Review email exchanges with claimant and
                      associate regarding claim.                        0.10 B310
         9/13/16      Review case documents and correspondence.
                      Update accounting information and process
                      payables. File maintenance.                       1.10 B110




                                               Page 1


                                                55
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 36 of 122 Page ID
                                   #:3946




                                                Manuel Chen
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. et al.
                                                         4-Sep-1&
                                                         10-Sep-16



         Date                                     Description                                   Hours
       4-Sep-16                                                                                 0.00


       5-Sep-16                                                                                 0.00


       6-Sep-16                                                                                 0.00


       7-Sep-16                                                                                 0.00


      8-Sep-16      Outgoing mail to Los Feliz Escrow Company by Coleen Callahan, Made a        0.20    B>H °
                    copy of the mailing envelope for Coleen.

      9-Sep-l 6                                                                                 0.00


      ? 0~Sep~J 6                                                                               0.00



                                             m                                                  0.20




                                                       Manuel Chen




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                    0*60   +                                                               /\

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                    1*00   *




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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 37 of 122 Page ID
                                   #:3947




                                             Manuel Chen
                               Fee Claim for Robb Evans & Associates LLC
                                      Case : Sale Slash LLC. et al.
                                                          11-Sep-H
                                                          17-Sep-16



        Date                                   Description                                     Hours
      11-Sep-16                                                                                0.00


      12~Sep-16 Scanned, saved and e-mailed request for Transfer of Funds to Susan             0.60    0>   ii o
                Mendez, Paul Cortez and Customer Service Century City cc: Anita Jen and
                Carl DeCius, Outgoing fedex ( a check to American Express with enclosed
                copy of the court order), Scanned and saved on J Drive all copies of the
                papework.
      13-Sep-l 6                                                                               0.00


      M-Sep-16                                                                                 0.00


      I5-Sep-16                                                                                0.00


      16-Sep-16                                                                                0.00


      17-Sep-l 6                                                                               0.00


                                                                                               0.60




                                                     Manuel Chen


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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 38 of 122 Page ID
                                   #:3948




                                                 Manuel Chen
                                   Fee Claim for Robb Evans & Associates LLC
                                          Case : Sale Slash LLC. et al.
                                                            18-Sep-16
                                                            24-Sep-16
                                                                                              i      ill

         Date                                       Description                                   Hours
       18-Sep-16                                                                                  0.00


       19-Sep-16                                                                                  0.00


       20-Sep-16                                                                                  0.00


       21-Sep-16                                                                                  0.00


       22-Sep-l 6 Track Fedex shipment (full settlement with enclosed copy of the court           0.20     BllO
                  order) to American Express, Printed tracking report (delivered) for file.

       23-Sep-16                                                                                  0.00


       24-Sep-l 6                                                                                 0.00


                                                                                                  0.20




                                                          Manuel Chen




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                                   #:3949




                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                          Case : Sale Slash LLC. et al.
                                                       0-Jan-00
                                                       3-Sep-16



        Date                                   Description                    Hours
      0-Jan-00                                                                0.00


      0-Jan-00                                                                0.00


      0-Jan-00                                                                0.00


      O-Jan-OO                                                                0.00


      1-Sep-16   Scanned B. Kane Declaration and saved on J Drive.            0.10    bf(o


      2-Sep-16                                                                0.00


      3-Sep-16                                                                0.00


                                                                              0.10




                                                     Imelda Perez




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                      0'50    +
                      050     +
                      Li'pn   +
                      1 *90   *



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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 40 of 122 Page ID
                                   #:3950




                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. et al.
                                                          4-Sep-16
                                                          IQ-Sep-U

         Date                                     Description                             Hours
       4-Sep-16                                                                           0.00

       5-Sep-i 6                                                                          0.00

       6-5ep-16                                                                           0.00

       7-Sep-l 6   Prepare letterhead to Attorney Alba to mail original documents; made   0.40    £>110
                   copy of documents for file; outgoing mail.

       8-Sep-16    Prepared FedEx package; outgoing mail.                                 0.20    Btio

       9-Sep-16                                                                           0.00

      10-Sep-16                                                                           0.00

                                                                                          0.60




                                                                                £
                                                        Imelda Perez




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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 41 of 122 Page ID
                                   #:3951




                                                            iiiir               -          i
                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. et al.
                                                            ll-Sep-16
                                                            17-Sep-16



          Date                                     Description                             Hours
       ll-Sep-16                                                                           0.00

       12-Sep-16                                                                           0.00

       13-Sep-16                                                                           0.00

       14-Sep-16                                                                           0.00

       )5-Sep-16 Created 2015 tax return files and label; updated tax prepared list;       0.50    fei/O
                 organized and filed copies of tax returns.

       16-Sep-16                                                                           0.00

       17-Sep-16                                                                           0.00

                                                                                           0.50



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                                   \


                                                         Imelda Perez




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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 42 of 122 Page ID
                                   #:3952




                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. et al.
                                                          18-Sep-16
                                                          24-Sep-H



          Date                                    Description                      Hours
        18-Sep-16                                                                  0.00

        )9-Sep-16 Faxed customer information to FTB, scanned faxed documents and   0.20    hho
                  confirmation page and saved on J Drive.

        20-Sep-16 Searched for contact information for J Dadbin; outgoing mail.    0.20    Bi t o

        21-Sep-16                                                                  0.00

       22-Sep-l 6 Filed paid invoices and check stubs.                             0.10    £>//o

       23-Sep-l 6                                                                  0.00

       24-Sep-16                                                                   0.00

                                                                                   0.50

                                            7




                                                         Imelda Perez




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                                   #:3953




                                                  Imelda Perez
                                   Fee Claim for Robb Evans & Associates LLC
                                           Case : Sale Slash LLC. et al.
                                                          25-Sep-H
                                                          0-Jan-00



         Date                                     Description                  Hours
       25-Sep-16                                                               0.00

       26-Sep-l 6                                                              0.00

       27-Sep-l 6 Filed correspondence.                                        0.10    y>°




       28-Sep-16                                                               0.00

       29-Sep-16                                                               0.00

       30-Sep-l 6 Searched for contact information for J Dadbin.               0.10    bllo

        0-Jan-00                                                               0.00

                                                                               0.20
                                          &
                                      /


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                                                        Imelda Perez




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                                                                       (   v




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  Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 44 of 122 Page ID
                                     #:3954


Robb Evans & Associates LLC
                                                                                                           Invoice
Sun Valley, CA 91352
                                                                                                 Date        Invoice #


                                                                                              10/31/2016      SS 17




          Bill To

       Robb Evans, Receiver of Sales Slash




                                                                                                           P.O. No.




                            Description                                Qty             Rate                Amount

For professional services provided from 10/1/16 to 10/31/16 by:
B. Kane                                                                      0.5              301.50             150.75
K.Johnson                                                                      1              301.50             301.50
A. Jen                                                                                        301.50             301.50
C. DeCius                                                                    2.9               90.00             261.00
J. Dadbin                                                                    1.2               55.00                66.00
Support Staff                                                                                                       39.SO




                                                                                   Total                      SI,120.55




                                                                  64
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 45 of 122 Page ID
                                   #:3955




 Fee Claims for:      Robb Evans & Associates LLC
 Case :               Sales Slash LLC et al.
 For the Month of :   October-16
 Name :               Brick Kane



          Date                           Description                       Hours      Coding
         10/4/16      Review arid execute loan sale documents                  0.20 B130
        10/31/16      Discussion with FTC re: status of closing case           0.10 B110
        10/31/16      Review and revise draft Court filing re: status of
                      receivership                                             0.20 B110




                                                   Page 1


                                                   65
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                                   #:3956




 Fee Claims for:      Robb Evans & Associates LLC
 Case :               Sales Slash LLC et al.
 For the Month of :   October-16
 Name :                Kenton Johnson



          Date                            Description                          Hours    Coding
        10/12/16      Read and review the final signed documents for
                      the sale of the note secured by the N. Santa
                      Anita Ave. property. Complete electronic and
                      paper filing of the signed documents.                       0.30 B130
        10/17/16      Telephone discussion with the Receiver's
                      attorney Welin about



                                                                                  0.20 B130
        10/17/16      Discussion with CFO Anita Jen to confirm the
                      details and process of filing the final tax return for
                      the remaining Sale Slash entity and the time
                      requirements to complete all needed actions.                0.10 B130
        10/20/16      Prepare and forward draft of status and
                      information for the Receiver's attorney on the
                                                                                  0.10 B130
        10/26/16      r\eau anu reply to letter from the Receiver's
                      attorney about

                                              Forward to the staff
                      accountant for additional review.                           0.20 B130
        10/27/16      Go over final reporting and payment details.                0.10 B130




                                                    Page 1

                                                    66
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                                   #:3957




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   October-17
 Name:                Anita Jen



          Date                          Description                       Hours      Coding
         10/11/16     Provide wire instruction                                0.10 B110
         10/12/16     Phone discussion with B. Bloom re :
                                                                              0.10 B130
         10/17/16     Closing issues discussion with KJ                       0.20 B110
         10/28/16     Prepare wire instruction and confirm wire; update
                      accounting for Optim final tax returns, email
                      information to R. Han for preparation of final
                      Optim tax returns; call and left message with
                      Maria of CA FTB re : updates on claim                   0.30 B240
         10/31/16     phone discussion with Law Offices of Kenneth
                      Freed re : claim                                        0.00 B310
         10/31/16     Discussion with C Crowell re :
                                 ; Review declaration                         0.30 B110




                                                 Page 1


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                                   #:3958




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   October-17
 Name :               Coleen Callahan



          Date                          Description                        Hours    Coding
        10/5/16       Work on Assignment of Note and Deed of Trust,
                                                                            0.0
                      Santa Anita                                                  B130
       10/28/16       Call with Mr. Ognassian; County Recorder lost the
                      Substitution of Trustee and Full Recon we sent; he    0.0
                      requests another                                             B130




                                                  Page 1


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                                   #:3959




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   October-17
 Name:                Carl DeCius



          Date                         Description                      Hours    Coding   )
         10/3/16
                      Review court Order approving receivers fees and
                      expenses. Organize support documents and
                      process payments. Prepare checks and supports
                      documents for final signing. File maintenance.       1.50 B110
         10/14/16     Review multiple emails regarding incoming
                      receipts. Review settlement agreements and
                      additional requests for payment.                     0.20 B110
         10/16/16     Review case documents and payables.                  0.20 B110
         10/16/16     Update accounting information and process
                      payables. Reconcile bank accounts.                   0.60 B110
         10/27/16     Email exchanges with associate regarding
                      payments received from defendants. Review
                      accounting information and advice.                   0.10 B110
         10/28/16     Review multiple emails from associate regarding
                      incoming and outgoing receipts.                      0.10 B110
         10/31/16     Update accounting information and process
                      payables. Reconcile bank accounts.                   0.20 B110




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                                   #:3960




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   October-17
 Name:                Jacklin Dadbin



         Date                          Description                    Hours    Coding
        10/6/16       Received, reviewed, signed, and notarized
                      documents delivered.                               0.20 B130
        10/13/16      Communicate with Brian Bloom and associate
                      regarding                                          0.60 B130
        10/24/16      Communicate with Vahe and associate regarding
                      his Apple computer.                                0.40 B130




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                                   #:3961




                                                Manuel Chen
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case: Sale Slash LLC. et al.
                                                          2-Oct-H
                                                          8-Oct-U



         Date                                     Description                                   Hours
       2-Oct-16                                                                                 0.00

       3-Oct~16                                                                                 0.00

       4-Oct-16                                                                                 0.00

       5-Oct-i 6   Matched checks and invoices, Outgoing mail ( payables).                      0.20



       6-Oct-l 6   Prepared deposit to First Republic Bank, Made copies of check and deposit    0.30    blfO
                   slip for Carl DeCius, E-mailed information to Susan Mendez and Paul Cortez
                   of FRB.
       7-Oct-l 6   Outgoing fedex ( property documents) to a Law Firm by Jacklin Dadbin.        0.20    B'//<=>

      8-Oct-l 6                                                                                 0.00
                                                      \
                                                                                                0.70
                                               HI


                                                        Manuel Chen




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                                   #:3962




                                               Manuel Chen
                                Fee Claim for Robb Evans & Associates LLC
                                       Case : Sale Slash LLC. et al.
                                                       23-Oct-U
                                                       29-Oct-16



        Date                                    Description                 Hours
      23-Oct-16                                                             0.00

      24-Oct-l 6                                                            0.00

      25-Oct-16                                                             0.00

      26-Oct-l 6                                                            0.00

      27-Oct-l 6 Sort check stubs with attachment in check number order.    0.20    hlio


      28-Oct-l 6                                                            0.00

      29-Oct-16                                                             0.00


                                                                            0.20




                                                       tanuel Chen




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                                   #:3963




                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. ei al.
                                                          2-Oct-H
                                                          8-Oct-l 6



         Date                                     Description                 Hours
       2-Oct-l 6                                                              0.00

       3-Oct-16                                                               0.00

       4-Oct-l 6                                                              0.00

       5-Oct-l 6   Scanned funds transfer request and emailed to FRB.         0.10    "B>//o


       6-Oct-l 6                                                              0.00

       7-Oct-l 6                                                              0.00

      8-Oct-l 6                                                               0.00

                                                                              0.10
                                           7




                                                        Imelda Perez




                   0 • 00 *
                   0*10   +
                   O70    +
                   0*10 +
                   0-10   +
                   (>4Q   *


                                                       73
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 54 of 122 Page ID
                                   #:3964




                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. et al.
                                                      H-Oct-16
                                  ^                   22-Oct-U



         Date                                Description                      Hours
       !6-Oct-16                                                              0.00

       17-Oct-16                                                              0.00

       18-Oct-16 Outgoing mail.                                               0.10    "bllO

       ]9~Oct-16                                                              0.00

       20-Oct-16                                                              0.00

       21-Oct-16                                                              0.00

       22-Oct-16                                                              0.00

                                                                              0.10



                                                           1^1

                                                  Imelda Perez




                                                 74
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 55 of 122 Page ID
                                   #:3965




                                                 Imelda Perez
                                  Fee Claim for Robb Evans & Associates LLC
                                         Case : Sale Slash LLC. et al.
                                                              23-Oct-14
                                                              2?-Oct-14    i




         Date                                     Description                  Hours
       23-Oct-l<5                                                              0.00

       24-Oct-14                                                               0.00

       25-Oct-16                                                               0.00

       26-Oct-16                                                               0.00

       27-Oct-l<5                                                              0.00



       28-Oct-l 6 Filed paid invoices and check stubs.                         0.10    Kiio

       29-Oct-16                                                               0.00

                                                                               0.10
                                                     [Si;
                                          j/
                                          V
                                                                           o
                                                            Imelda Perez




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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 56 of 122 Page ID
                                   #:3966




                                              Imelda Perez
                               Fee Claim for Robb Evans & Associates LLC
                                       Case : Sale Slash LLC. et al.
                                                        30-Oct-1&
                                                        0-Jan-00



         Date                                  Description                 Hours
       30-Oct-16                                                           0.00

       31-Oct-M Scanned B. Kane Declaration.                               0.10    "Blio

       0-Jan-00                                                            0.00

       0-Jan-00                                                            0.00

       0-Jan-00                                                            0.00

       0-Jan-00                                                            0.00

       0-Jan-00                                                            0.00

                                                                           0.10


                                           K


                                                    Imelda Perez




                                                   76
   Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 57 of 122 Page ID
                                      #:3967


Robb Evans & Associates LLC
                                                                                                            Invoice
Sun Valley, CA 91352
                                                                                                  Date        Invoice #


                                                                                               11/30/2016      SS 18




           Bill To

         Robb Evans, Receiver of Sales Slash




                                                                                                            P.O. No.




                            Description                                 Qty             Rate                Amount

For professional services provided from 11/1/16 to I 1/30/16 by:
B. Kane                                                                       0.3              301.50              Wl.45
A. Jen                                                                        0.7              301.50             21 1.05
C. DeCius                                                                     0.4               90.00              36.00
Support Staff                                                                                                      12.80




                                                                                    Total                        $350.30




                                                                   77
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 58 of 122 Page ID
                                   #:3968




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   November-17
 Name :               Brick Kane



           Date                         Description                      Hours    Coding
          11/28/16    Discussion with C. Welin, C. Crowell, and A. Jen
                      re:
                                                                            0.30 B110




                                                 Page 1


                                                  78
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 59 of 122 Page ID
                                   #:3969




 Fee Claims for:      Robb Evans & Associates LLC
 Case:                Sales Slash LLC et al.
 For the Month of :   November-17
 Name;                Anita Jen



          Date                          Description                      Hours   |   Coding   [
         11/9/16      Provide information to Rhonda on tax issues for
                      final tax returns                                     0.20 B240
         11/28/16     Discussion with C Welin, C Crowell, B. Kane re :
                                                                            0.30 B110
         11/28/16     follow up with R. Han re: final tax returns ;
                      update accounting                                     0.10 B240
         11/29/16     Read email from R. Han; discussion with R. Han
                      re : final tax return for Optim                       0.10 B240




                                                 Page 1

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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 60 of 122 Page ID
                                   #:3970




 Fee Claims for:      Robb Evans & Associates LLC
 Case :               Sales Slash LLC et al.
 For the Month of :   November-17
 Name :               Carl DeCius



           Date                        Description                      Hours    Coding
          11/15/16    Review case documents and correspondence.
                      Update accounting and banking information. File
                      maintenance.                                         0.40 B110




                                                Page 1


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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 61 of 122 Page ID
                                   #:3971




                                               Imelda Perez
                                Fee Claim for Robb Evans & Associates LLC
                                       Case : Sale Slash LLC. et al.
                                                        0-Jan-00
                                                        5-Nov-16


        Date                                    Description                            Hours
      0-Jan-00                                                                         0.00

      0-Jan-00                                                                         0.00

      l-Nov-16   Scanned Substitution of Trustee and Full reconveyance regarding the   0.30
                 Pasadena property; made phone call for C. Callahan regarding
                 document; outgoing mail.

      2-Nov-16                                                                         0.00

      3-N0V-16                                                                         0.00

      4-Nov-16                                                                         0.00

      6-N0V-16                                                                         0.00

                                                                                       0.30




                                                      Imelda Perez




            0*00    *


            0-30 +
            0-10     +
            0*40 *




                                                      81
    Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 62 of 122 Page ID
                                       #:3972




                                                    Imelda Perez
                                     Fee Claim for Robb Evans & Associates LLC
                                            Case : Sale Slash LLC. et al.
                                                              A-Nov-16
                                                              12-Nov-U



            Date                                      Description                Hours
          6-Nov-16                                                               0.00

          7-Nov-I6                                                               0.00

          8-NOV-16                                                               0.00

          9-Nov-l 6   Filed paid invoices and check stubs.                       0.10    II o

          10-Nov-16                                                              0.00

          11-Nov-16                                                              0.00

          12-NOV-16                                                              0.00

                                                                                 0.10


I

                                                             Imelda Perez
1




                                                             82
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 63 of 122 Page ID
                                   #:3973




                     EXHIBIT 4

                                     83
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                                   #:3974
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                   LAWYERS
                                        1000 WILSHIRE BOULEVARD
                                            NINETEENTH FLOOR
                                        LOS ANGELES, CA 90017-2427
                                            FEDERAL ID U XX-XXXXXXX
                                               www.Frandzel.com




 ROBB EVANS & ASSOCIATES LLC
 ATTN: BRICK KANE                                                      SEPTEMBER 20, 2016
 11450 SHELDON STREET                                                  INVOICE # 396079
 SUN VALLEY, CA   91352-1121                                           0131




 FOR LEGAL SERVICES RENDERED THROUGH 08/31/16

 FILE NO: 078410-0055              FILE NAME: FTC V. SALE SLASH, LLC, ETC., ET AL.



 CONTACT: BRICK KANE


                                                             FEES      COSTS        TOTAL




                          CURRENT CHARGES           13,585.50         131.74    13,717.24

                   TOTAL BALANCE DUE                13,585.50         131.74    13,717.24




2425925.1 | 078410-0055


                                                     84
Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 65 of 122 Page ID
                                   #:3975
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                             LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                       NINETEENTH FLOOR
                                    LOS ANGELES, CA 90017-2427
                                                 ft
                                       FEDERAL ID XX-XXXXXXX
                                          www.Fiandzel.com


 ROBB EVANS & ASSOCIATES LLC
 ATTN: BRICK KANE                                                SEPTEMBER 20, 2016
 11450 SHELDON STREET                                            INVOICE # 39607 9
 SUN VALLEY, CA 91352-1121




 FOR LEGAL SERVICES RENDERED THROUGH 08/31/16
 FILE NO:    078410-0055    FTC V. SALE SLASH, LLC, ETC., ET AL.




                                           ITEMIZED SERVICES

                DATE      NAMES/ACTIVITY                             HOURS      AMOUNT

                          CASE ADMINISTRATION
             08/15/16     CRAIG A. WELIN                               0.3     $135.00
                          ANALYSIS RE ISSUES FOR THE
                          MOTION/STATUS REPORT TO BE FILED
                          BY 8/31.

             08/15/16     CHRISTOPHER CROWELL                          0.3      $94.50
                          ANALYSIS RE: REMAINING STEPS TO
                          COMPLETE RECEIVERSHIP
                          ADMINISTRATION AND PREPARATION OF
                          FINAL REPORT AND ACCOUNTING.

            08/16/16      CHRISTOPHER CROWELL                          0.8   NO CHARGE
                          MEETING WITH C. WELIN AND B. KANE
                          RE:



            08/18/16      CRAIG A. WELIN                               0.2      $90.00
                          REVIEW OF/RESPONSE TO MEMOS RE THE
                          ADMINISTRATIVE MOTION.




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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 66 of 122 Page ID
                                   #:3976
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                            LAWYERS
                                              1000 WILSHIRE BOULEVARD
                                                   NINETEENTH FLOOR
                                              LOS ANGELES, CA 90017-2427
                                                                  It
                                                 FEDERAL ID XX-XXXXXXX
                                                    www.Frandzel.com




             ROBB EVANS & ASSOCIATES LLC                                                PAGE:   2
             FILE NO:    078410-0055                                                    SEPTEMBER 20, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                                       INVOICE # 396079




                                           ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                                                HOURS      AMOUNT


             08/23/16     CRAIG A. WELIN                                                  0.1      $45.00
                          TELEPHONE CALL FROM CLIENT RE
                          m

             08/26/16     MICHAEL G . FLETCHER                                            0.1      $45.00
                          MULTIPLE E MAILS WITH                         KI^EPPINGER
                          ABOUT THE STIPULATION                         REVIEW


            08/29/16      MICHAEL        G.     FLETCHER                                  0.1      $45.00
                          ANALYSIS         RE    ADDRESSING              THE    OTHER
                          QUESTIONS           RAISED        BY    SANDERSON
                          ABOUT      HANDLING          THE       ESTATE


            08/29/16      MICHAEL        G.     FLETCHER                                  0.1      $45.00
                          E   MAIL    TO      SANDERSON           ABOUT      THE AMEX
                          ACCOUNTS         HAVING          BEEN        CLOSED


            08/29/16      MICHAEL        G.     FLETCHER                                  0.1      $45.00
                          E - M f t l t ; - -'FROM-.SANDisF.nOM         ABOUT'"T-HE"
                          CLOSING        OF     THE    AMEX       ACCOUNTS


            08/29/16      MICHAEL        G.     FLETCHER                                  0.2      $90.00
                          ANALYSIS         RE   MOTIONS           RE     FEES    AND
                          WRAPPING         UP    THE       ESTATE


            08/29/16      CRAIG     A.     WELIN                                          0.5     $225.00
                          REVIEW      OF      MEMOS        RE THE
                          ADMINISTRATIVE               MOTION.           COURT
                          APPEARANCE          AT      RE    ESTATE        CLOSING
                          ISSUES.




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                                   #:3977
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                      1000 VVILSHIRE BOULEVARD
                                         NINETEENTH FLOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID// XX-XXXXXXX
                                            www.Frandzel.com




             ROBB EVANS & ASSOCIATES LLC                           PAGE:   3
             FILE NO:    078410-0055                               SEPTEMBER 20, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                  INVOICE # 396079




                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                             HOURS      AMOUNT

             08/30/16     CRAIG A. WELIN                               0.2      $90.00
                          PREPARATION OF ADDITIONAL
                          INSTRUCTIONS RE THE ADMINISTRATIVE
                          MOTION AND WRAPPING UP THE ESTATE.

            08/30/16      CRAIG A. WELIN                              0.4      $180.00
                          REVIEW OF/RESPONSE TO MEMOS RE
                          VARIOUS CLOSING ISSUES.

            08/31/16      CRAIG A. WELIN                              0.1       $45.00
                          REVIEW OF/RESPONSE TO MEMO RE
                          ISSUES RAISED BY ATTORNEY  .
                          SANDERSON.

                          Subtotal                                    2.7    $1,174.50



                          ASSET DISPOSITION
            08/01/lf>     M.! CHART, O. FLETCHER • •   •                        3 4 b . 00
                          ANALYSIS RE PROPERTY ABANDONMENT

            08/02/16      CRAIG A. WELIN                              0.2      $90.00
                          REVIEW OF/RESPONSE     TO MEMOS FROM
                          ATTORNEY SANDERSON     RE THE DON
                          RICARDO PROPERTY.      REVIEW OF MEMO
                          FROM CLIENT RE THE     PROPERTY.     .

            08/02/16      CHRISTOPHER CROWELL                         0.1      $31.50
                          REVIEW MULTIPLE E-MAILS WITH
                          DEFENDANTS' COUNSEL RE:
                          ABANDONMENT OF DON RICARDO
                          PROPERTY.




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                                   #:3978
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                LAWYERS
                                      1000 WILSHIRE BOULEVARD
                                         NINETEENTH FLOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID // XX-XXXXXXX
                                            www.Fiandzel.com




             ROBB EVANS & ASSOCIATES LLC                               PAGE:   4
             FILE NO:    078410-0055                                   SEPTEMBER 20, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                      INVOICE # 396079




                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                               HOURS      AMOUNT

             08/03/16     MICHAEL G. FLETCHER                            0.1      $45.00
                          ANALYSIS RE TIMING THE SAN PASCUAL
                          CLOSING

             08/03/16     MICHAEL G. FLETCHER                            0.1      $45.00
                          REVIEW OF THE ORDER APPROVING THE
                          BANKRUPTCY SALE AND THE SAN
                          PASCUAL CLOSING

            08/03/16      CHRISTOPHER CROWELL                            0.2      $63.00
                          CORRESPONDENCE WITH SERRATOS
                          TRUSTEE COUNSEL M. D'ALBA RE:
                          TIMELINE FOR ANTICIPATED CLOSING
                          OF SAN PASCUAL PROPERTY ESCROW,
                          SPECIFICALLY PROPERTY PURCHASER'S
                          INDICATION THAT HE INTENDS TO USE
                          THE ENTIRE PERMITTED ESCROW
                          PERIOD, WITH THE SALE NOT
                          SGHS-DULED-TO-GLGS!•", UNTLL SE-P-T-SM3ER-



            08/04/16      MICHAEL G. FLETCHER                            0.1      $45.00
                          PREPARATION OF THE SAN PASCUAL
                          SALE ESCROW DEMAND

            08/08/16      MICHAEL G. FLETCHER                            0 .1     $45.00
                          ANALYSIS RE TIMING OF THE CLOSING
                          INTO SEPTEMBER

            08/08/16      MICHAEL G. FLETCHER                            0.2      $90.00
                          PREPARATION OF REMAINDER OF THE
                          ESCROW DEMAND DRAFT




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                                   #:3979
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                LAWYERS
                                     1000 WILSMIRE BOULEVARD
                                         NINETEENTH FLOOR
                                     LOS ANGELES, CA 90017-2427
                                        F E D E R A L ID// XX-XXXXXXX
                                            www.Fiandzel.com




             ROBB EVANS & ASSOCIATES LLC                                PAGE:   5
             FILE NO:    078410-0055                                    SEPTEMBER 20, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                       INVOICE # 396079




                                    ITEMIZED SERVICES (CONTINUED)

                DATE       NAMES/ACTIVITY                               HOURS       AMOUNT

             08/08/16     CHRISTOPHER CROWELL                             0.1      $31.50
                          COMMUNICATE WITH SERRATOS CHAPTER
                          7 TRUSTEE COUNSEL M. D'ALBA RE:
                          RECEIVER'S ESCROW DEMAND AND
                          TIMING FOR CLOSING IN CONNECTION
                          WITH SALE OF SAN PASCUAL PROPERTY.

             08/08/16     CHRISTOPHER CROWELL                             1.7     $535.50
                          PREPARE ESCROW DEMAND LETTER RE:
                          SAN PASCUAL PROPERTY CLOSING.

            08/11/16      CHRISTOPHER CROWELL                             0.2      $63.00
                          COMMUNICATE WITH SERRATOS TRUSTEE
                          COUNSEL M. D'ALBA RE: TIMING FOR
                          SAN PASCUAL ESCROW CLOSING AND
                          SUBMISSION OF RECEIVER'S ESCROW
                          DEMAND LETTER TO ESCROW, PRIMARILY
                          TO ENCOURAGE M. D'ALBA TO PROD
                          PROPERTY BUYER TO CLOSE BY AUGUST
                          -31-.-
            08/15/16      MICHAEL G. FLETCHER                             0.2      $90.00
                          PREPARATION OF THE MOTION RE THE
                          SERRATOS CLOSING AS TO SAN PASCUAL

            08/15/16      CRAIG A. WELIN                                  0.2      $90.00
                          REVIEW OF/RESPONSE TO MEMOS RE THE
                          DISPOSITION OF THE SERRATOS
                          PROPERTY.

            08/15/16      CHRISTOPHER CROWELL                             0.1      $31.50
                          ANALYSIS RE: HOW TO HANDLE DELAYED
                          CLOSING WITH RESPECT TO SAN
                          PASCUAL ESCROW, IN LIGHT OF
                          COURT-IMPOSED AUGUST 31 DEADLINE




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                                   #:3980
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                              LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                    LOS ANGELES, CA 90017-2427
                                       FEDERAL ID il XX-XXXXXXX
                                           www.Frandzel.com




             ROBB EVANS & ASSOCIATES LLC                          PAGE:   6
             FILE NO;    078410-0055                              SEPTEMBER 20, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.
                                                f                 INVOICE # 396079



                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                          HOURS      AMOUNT

                          FOR RECEIVER TO COMPLETE HIS
                          ADMINISTRATION OF RECEIVERSHIP
                          ESTATE.

             08/16/16     CRAIG A. WELIN                            0.2      $90.00
                          REVIEW OF/RESPONSE TO MEMOS RE THE
                          SANTA ANITA NOTE SALE.

             08/16/16     CRAIG A. WELIN                            0.7     $315.00
                          MEETING WITH CLIENT REMAINING
                          ASSET LIQUIDATION ISSUES AND RE
                          TIMING OF THE CLOSING OF THE
                          ESTATE, INCLUDING CLOSING ITEMS.

            08/16/16      CRAIG A. WELIN                            0.4     $180.00
                          ANALYSIS RE ASSET LIQUIDATION
                          ISSUES RE THE LAST NOTE. REVIEW
                          OF MEMOS RE THE INFORMATION
                          REQUESTED BY THE POSSIBLE NOTE
                          BUYER.
            08/18/16      CRAIG A. WELIN                            0.1      $45.00
                          REVIEW OF MEMOS RE THE SANTA ANITA
                          NOTE BALANCE ISSUES.

            08/19/16      CRAIG A. WELIN                            0.4     $180.00
                          TELEPHONE CALL FROM CLIENT RE




            08/20/16      CRAIG A. WELIN                            0.2      $90.00
                          REVIEW OF MEMOS RE REMAINING
                          ASSETS TO BE SOLD.'




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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 71 of 122 Page ID
                                   #:3981
                    FRANDZEL ROBINS BLOOM & CSAIO, L.C.
                                              LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                    LOS ANGELES,CA 90017-2427
                                       FEDERAL ID it XX-XXXXXXX
                                          www.Frandzel.com




             ROBB EVANS & ASSOCIATES LLC                          PAGE:   7
             FILE NO:    078410-0055                              SEPTEMBER 20, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                 INVOICE # 396079



                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                          HOURS      AMOUNT

             08/22/16     CRAIG A. WELIN                             0.2     $90.00
                          REVIEW OF MEMOS RE THE SANTA ANITA
                          PROPERTY NOTE SALE ISSUES.

            08/24/16      CHRISTOPHER CROWELL                       0.2      $63.00
                          MEET AND CONFER E-MAIL TO COUNSEL
                          RE: FEE APPLICATION AND
                          ABANDONMENT OF DON RICARDO
                          PROPERTY.

            08/25/16      CRAIG A. WELIN                            0.2      $90.00
                          REVIEW OF MEMOS RE THE POSSIBLE
                          NOTE SALE.

            08/26/16      CHRISTOPHER CROWELL                       0.2      $63.00
                          RETURN PHONE CALL TO SERRATOS
                          CHAPTER 7 TRUSTEE COUNSEL M.
                          D'ALBA RE: TIMING FOR CLOSING OF
                          SAN PASCUAL PROPERTY.

            08/29/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          ANALYSIS RE DELAY IN CLOSING SAN
                          PASCUAL

            08/29/16      CRAIG A. WELIN                            0.2      $90.00
                          TELEPHONE CALL FROM CLIENT RE


            08/30/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          MULTIPLE E MAILS WITH KANE AND JEN
                          AND JOHNSON ABOUT




2425925.1 I 078410-0055


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Case 2:15-cv-03107-PA-AJW Document 209-5 Filed 03/10/17 Page 72 of 122 Page ID
                                   #:3982
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                          LAWYERS
                                            1000 WILSIIIRE BOULEVARD
                                                NINETEENTH FLOOR
                                            LOS ANGELAS, CA 90017-2427
                                               FEDERAL ID H XX-XXXXXXX
                                                  www. Frandzel.coin




             ROBB e v a n s & a s s o c i a t e s l l c                  page:   8
             file NO:        078410-0055                                 september 20, 2016
             ftc v. sale slash,           llc, etc., et al.              invoice # 396079




                                          itemized services (continued)

                date        names/activity                                hours     amount

             08/30/16       michael g. fletcher                             0.1     $45.00
                            telephone c a l l from johnson about




             08/30/16      michael g. fletcher                             0.1      $45.00
                           multiple e mails with johnson
                           about


            08/30/16       MICHAEL G. f l e t c h e r                      0.1      $45.00
                           ANALYSIS RE HANDLING t h e
                           RECONVEYANCE

            08/30/16       MICHAEL G. FLETCHER                             0.1      $45.00
                           E MAIL FROM JOHNSON ABOU'


            08/30/16       MICHAEL G. FLETCHER                             0.3     $135.00
                           PREPARATION OF REMAINDER OF THE
                           SAN PASCUAL ESCROW DEMAND

            08/30/16       CHRISTOPHER CROWELL                             0.4     $126.00
                           REVISIONS TO SAN PASCUAL ESCROW
                           DEMAND LETTER.

            08/30/16       CHRISTOPHER CROWELL                             0.9     $283.50
                           PREPARE MOTION TO ABANDON DON
                           RICARDO PROPERTY AND SUPPORTING
                           DECLARATION.

            08/31/16       CRAIG A. WELIN                                  0.1      $45.00
                           REVIEW OF MEMO RE THE POSSIBLE
                           SANTA ANITA NOTE SALE ISSUES.




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                                   #:3983
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                       1000 WILSHIRE BOULEVARD
                                           NINETEENTH FLOOR
                                       LOS ANGELES, CA 90017-2427
                                          FEDERAL ID# XX-XXXXXXX
                                             www. Frandzel.com




              ROBB EVANS & ASSOCIATES LLC                           PAGE :  9
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              FTC V. SALE SLASH, LLC, ETC.,r ET AL.                 INVOICE # 396079



                                      ITEMIZED SERVICES (CONTINUED)

                 DATE      NAMES/ACTIVITY                           HOURS        AMOUNT

             08/31/16      CHRISTOPHER CROWELL                         0.5      $157.50
                           REVISIONS TO DON RICARDO
                           ABANDONMENT MOTION AND SUPPORTING
                           DECLARATION.

             08/31/16      CHRISTOPHER CROWELL                         0.1    NO CHARGE
                           PHONE CALL WITH C. WELIN RE:


             08/31/16      CHRISTOPHER CROWELL                         0.4      $126.00
                           FURTHER REVISIONS TO SAN PASCUAL
                           ESCROW DEMAND LETTER.

             08/31/16      ELEANE PANG                                 0.7      $136.50
                           PREPARATION OF MULTIPLE PROOFS OF
                           SERVICE RE MOTION FOR ORDEp.
                           APPROVING ABANDONMENT OF REAI?*    ''
                           PROPERTY AND MOTION FOR ORDER
                           APPROVING FEES AND COSTS FOR
                           PERIOD OF APRI L 20]6 - JU3.Y 2016.

                           Subtotal                                   10. 6   $3,916.50


                           FEE/EMPLOYMENT APPLICATIONS
             08/17/16      CHRISTOPHER CROWELL                         0.2    NO CHARGE
                           PHONE CALL FROM C. WELIN RE:



             08/17/16      CHRISTOPHER CROWELL                         0.2      $63.00
                           ANALYSIS RE: TIMING FOR
                           PREPARATION OF FINAL FEE
                           APPLICATION, IN LIGHT OF JUDGE
                           ANDERSON'S FEBRUARY 2016 ORDER




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                                   #:3984
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                    LOS ANGELES, CA 90017-2427
                                       FEDERAL ID # XX-XXXXXXX
                                           www.Frandzcl.com




             ROBB EVANS & ASSOCIATES LLC                         PAGE: 10
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             FTC V. SALE SLASH, LLC, ETC., ET AL.                INVOICE # 396079



                                   ITEMIZED SERVICES (CONTINUED)

                date      NAMES/ACTIVITY                         hours      AMOUNT

                          REQUIRING FEE APPLICATIONS EVERY
                          FOUR MONTHS RATHER THAN EVERY TWO
                          MONTHS.

            08/17/16      ELEANE PANG                              2.2     $429.00
                          START DRAFT OF MOTION FOR ORDER
                          APPROVING FEES AND COSTS INCURRED
                          FOR THE PERIOD OF APRIL 1, 2016
                          THROUGH JULY 31, 2016; NOTICE OF
                          HEARING AND PROPOSED ORDER.

            08/19/16      CHRISTOPHER CROWELL                      0.6     $189.00
                          PREPARE NEXT INTERIM FEE
                          APPLICATION.

            08/22/16      CHRISTOPHER CROWELL                      0.2      $63.00
                          PREPARE NEXT INTERIM FEE
                          APPLICATION.

            08/23-/'l;6   CilRr STOPHER -CROWELL
                          PREPARATION OF NEXT INTERIM FEE
                          APPLICATION.

            08/24/16      CHRISTOPHER CROWELL                      0.8     $252.00
                          PREPARE NEXT INTERIM FEE
                          APPLICATION.

            08/24/16      ELEANE PANG                              1.1     $214.50
                          REDACTION OF INVOICES FOR NEXT FEE
                          APPLICATION.

            08/24/16      ELEANE PANG                              0.3      $58.50
                          MULTIPLE CALLS WITH RECEIVER
                          REGARDING




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                                   #:3985
                    FRANDZEL ROBINS BLOOM & CSATO, L .C.
                                             LAWYERS
                                    1000 W1LSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                    LOS ANGELES,CA 90017-2427
                                       FEDERAL ID tt XX-XXXXXXX
                                          www. Frandzel.coin




             ROBB EVANS & ASSOCIATES LLC                          PAGE: 11
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             FTC V. SALE SLASH, LLC, ETC., ET AL.                 INVOICE # 396079



                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                          HOURS         AMOUNT

            08/24/16      ELEANE PANG                               0.7        $136.50
                          CONTINUATION OF DRAFTING OF MOTION
                          FOR ORDER APPROVING FEES AND
                          EXPENSES FOR THE PERIOD APRIL 2016
                          - JULY 2016; NOTICE OF HEARING AND
                          PROPOSED ORDER.

            08/29/16      CHRISTOPHER CROWELL                       0.2         $63.00
                          PHONE CALL WITH K. JOHNSON RE:




            08/29/16      CHRISTOPHER CROWELL                       3.8      $1,197.00
                          PREPARATION OF FEE APPLICATION.

            08/30/16      CHRISTOPHER CROWELL                       1.1       $346.50
                          REVISE FEE APPLICATION.

            08/30/16      CHRISTOPHER CROWMLb                       0 . 2-     -4-6-3^-0-— -
                          COMMUNICATE WITH RECEIVER
                          PERSONNEL RE:


            08/31/16      CRAIG A. w e l i n                        0.3       $135.00
                          REVIEW OF AND REVISIONS TO THE
                          DRAFT ADMINISTRATIVE MOTION.

            08/31/16      CHRISTOPHER CROWELL                       0.1      NO CHARGE
                          PHONE CALL WITH C. WELIN RE:




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                                   #:3986
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                      1000 WILSHIRE BOULEVARD
                                          NINETEENTH FLOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID § XX-XXXXXXX
                                            www. Frandzel.com




             ROBB EVANS & ASSOCIATES LLC                           PAGE: 12
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                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                           HOURS         AMOUNT

            08/31/16      CHRISTOPHER CROWELL                          0.6      $189.00
                          FURTHER REVISIONS TO FEE
                          APPLICATION.

            08/31/16      CHRISTOPHER CROWELL                          1.6      $504.00
                          REVISIONS TO FEE APPLICATION AND
                          SUPPORTING DECLARATION.

            08/31/16      CHRISTOPHER CROWELL                          0.3       $94.50
                          COMMUNICATE WITH RECEIVER STAFF
                          &E : i

            08/31/16      ELEANE PANG                                  2.2      $429.00
                          FORMATTING OF MOTION FOR APPROVAL
                          OF FEES FOR APR-JUL 2016 AND
                          MOTION FOR ORDER APPROVING
                          ABANDONMENT OF REAL PROPERTY;
                          SUPPORTING DOCUMENTATION/EXHIBITS;
                          NOTICE OF HEARING; i?RO!.'OSF,D ORDER
                          AND PROOFS OF SERVICE TO
                          ELECTRONIC FORMAT.

            08/31/16      ELEANE PANG                                 0.6     NO CHARGE
                          RE-ASSEMBLY OF SERVICE DOCUMENTS
                          (NO CHARGE).

            08/31/16      ELEANE PANG                                 0.6       $117.00
                          ANALYSIS REGARDING NOTICE OF
                          HEARING RE FEE MOTION AND MOTION
                          APPROVING ABANDONMENT OF REAL
                          PROPERTY; ASSEMBLY AND PACKAGING
                          OF SAME TO CREDITORS' LIST PARTIES.

                          Subtotal                                   17 . 5   $4,701.00




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                                   #:3987
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                              LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                    LOS ANGELES, CA 90017-2427
                                       FEDERAL ID # XX-XXXXXXX
                                          www. Frandzel.con)




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                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                         HOURS       AMOUNT



                          CLAIMS ADMINISTRATION AND OBJECTIONS
            08/03/16      MICHAEL G. FLETCHER                      0.1       $45.00
                          MULTIPLE E MAILS WITH KLEPPINGER
                          ABOUT THE AMEX CONVERSATION

            08/03/16      MICHAEL G. FLETCHER                      0.3     $135.00
                          MULTIPLE TELEPHONE CALLS WITH
                          KLEPPINGER ABOUT THE AMEX CLAIM

            08/03/16      MICHAEL G. FLETCHER                      0.2      $90.00
                          E MAIL TO KANE AND JEN ABOUT THE
                          AMEX LAWYER CONVERSATION

            08/03/16      MICHAEL G. FLETCHER                      0.2      $90.00
                          ANALYSIS RE RESOLVING THE AMEX
                          ISSUES AND THE TIMING OF FURTHER
                          FILINGS

            08/05/16      MICHAEL G. FLETCHER                      0.1      $45.00
                          MULTIPLE E MAILS WITH KLEPPINGER
                          ABOUT THE AMEX RESPONSE

            08/05/16      MICHAEL G. FLETCHER                      0.2      $90.00
                          MULTIPLE E MAILS WITH KLEPPINGER
                          ABOUT THE AMEX RESPONSE

            08/10/16      MICHAEL G. FLETCHER                      0.5     $225.00
                          MULTIPLE E MAILS WITH KANE, JEN,
                          AND JOHNSON ABOUT THE OFFERED DEAL




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                                   #:3988
                    FRANDZEL ROBINS BLOOM & CSAIO, L.C.
                                                 LAWYERS
                                        1000 WILSHIRE BOULEVARD
                                            NINETEENTH FLOOR
                                        LOS ANGELES, CA 90017-2427
                                           FEDERAL ID # XX-XXXXXXX
                                              www.Frandzel.com




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                                      ITEMIZED SERVICES (CONTINUED)

                DATE       NAMES/ACTIVITY                                 HOURS      AMOUNT

             08/10/16     MICHAEL G. F L E T C H E R                         0.1     $45.00
                          E MAIL TO KLEPPINGER ABOUT THE
                          RECEIVER EVALUATING THE OFFERED
                          DEAL FOR AMEX TO KNOCK $200,000
                          OFF ITS CLAIM TO ACCOUNT FOR THE
                          MILES

            08/10/16      MICHAEL G. FLETCHER                               0.1      $45.00
                          E MAIL FROM KLEPPINGER ABOUT AMEX
                          KNOCKING $200,000 OFF ITS CLAIM TO
                          ACCOUNT FOR THE MILES

            08/10/16      MICHAEL G. FLETCHER                               0.1      $45.00
                          TELEPHONE CALL TO KANE ABOUT




            08/10/16       MICHAEL G. FLETCHER                              0.7     $315.00
                          ~A:NAXrYSTS RE DOCU'M'E'N'T^i^(a~^H'E~~&E}frL
                           FOR T^MEX TO KNOCK $200,000 OFF ITS
                           CLAIM TO ACCOUNT FOR THE MILES

            08/10/16      MICHAEL G. FLETCHER                               0.3     $135.00
                          PREPARATION OF STIPULATION
                          CONCERNING THE AMEX SETTLEMENT

            08/10/16      CHRISTOPHER CROWELL                               0.2      $63.00
                          MULTIPLE E-MAILS AND ANALYSIS RE:
                          AMEX SETTLEMENT.

            08/15/16      MICHAEL G. FLETCHER                               0.2      $90.00
                          PREPARATION OF THE AMEX CLAIM
                          STIPULATION




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                                   #:3989
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                    LOS ANGELES,CA 90017-2427
                                       FEDERAL ID It XX-XXXXXXX
                                           www.Frandy.el.com




             ROBB EVANS & ASSOCIATES LLC                          PAGE: 15
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                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                          HOURS       AMOUNT

             08/18/16     MICHAEL G. FLETCHER                       0.3     $135.00
                          PREPARATION OF THE AMEX STIPULATION

             08/18/16     CHRISTOPHER CROWELL                       1.3     $409.50
                          PREPARE AMEX SETTLEMENT
                          STIPULATION.

            08/19/16      MICHAEL G. FLETCHER                       0.2      $90.00
                          PREPARATION OF REMAINDER OF THE
                          AMEX STIPULATION AND ANALYSIS RE
                          THE AMOUNTS TO BE PAID

            08/19/16      MICHAEL G. FLETCHER                       0.2      $90.00
                          E MAIL TO KANE ABOUT



            08/19/16      MICHAEL G. FLETCHER                       0.2      $90.00
                          REVIEW OF THE AMEX STIPULATION AND
                          ANALYSIS RFr PAYMENf—ISSUES AND
                          TIMING

            08/19/16      CRAIG A. WELIN                            0.2      $90.00
                          ANALYSIS RE AMEX SETTLEMENT ISSUES.

            08/19/16      CRAIG A. WELIN                            0.2      $90.00
                          REVIEW OF MEMOS RE THE AMEX
                          SETTLEMENT ISSUES.

            08/19/16      CHRISTOPHER CROWELL                       0.2      $63.00
                          REVISE AMEX STIPULATION AND SEND
                          SAME TO RECEIVER'S STAFF FOR
                          REVIEW.




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                                   #:3990
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                    I.AWYKRS
                                         1000 WI LSI 11 RE    BOULEVARD
                                               NINETEENTH ELOOR
                                         LOS ANGELES, CA 90017-2427
                                                         tt
                                            FEDERAL ID XX-XXXXXXX
                                               www. Frandzel.coin




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             FTC V.       SALE SLASH,   LLC,    ETC.,    ET AL.               INVOICE # 396079




                                        ITEMIZED SERVICES (CONTINUED)


                DATE         NAMES/ACTIVITY                                   HOURS      AMOUNT

             08/22/16       MICHAEL G. FLETCHER                                 0.1      $45.00
                            E MAIL FROM KANEMfl



             08/22/16       MICHAEL G. FLETCHER                                 0.1      $45.00
                            E MAIL TO WERNZ WITH THE AMEX
                            COUNSEL EMAIL ATTACHING THE
                            SETTLEMENT STIPULATION


            08/22/16        MICHAEL G. FLETCHER                                 0.1      $45.00
                            E MAIL TO KANE ABOUT



            08/22/16        MICHAEL G. FLETCHER                                 0.1      $45.00
                            E MAIL FROM KANE



            08/22/16        MICHAEL G. FLETCHER                                 0.2      $90.00
                            E MAIL TO KLEPPINGER ABOUT THE
                            AMEX DEAL AND THE DRAFT STIPULATION


            08/22/16        MICHAEL G. FLETCHER                                 0.1      $45.00
                            E MAIL TO WERNZ AND SANDERSON
                            ABOUT THE AMEX STIPULATION


            08/22/16        CRAIG A. WELIN                                      0.2      $90.00
                            REVIEW OF MULTIPLE MEMOS RE THE
                            AMEX SETTLEMENT.


            08/22/16        CHRISTOPHER CROWELL                                 0.3      $94.50
                            FINALIZE STIPULATION RE:              TREATMENT
                            OF AMERICAN EXPRESS CLAIMS AND
                            CIRCULATE TO FTC COUNSEL AND
                            DEFENDANTS' COUNSEL FOR REVIEW AND




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                                   #:3991
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                       1000 WILSH1RE BOULEVARD
                                           NINETEENTH FLOOR
                                       LOS ANGELES, CA 90017-2427
                                          FEDERAL ID   it XX-XXXXXXX
                                             www. Frandzel.coin




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             FTC V. SALE SLASH, LLC, ETC., ET AL.                      INVOICE # 396079




                                      ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                               HOURS       AMOUNT

                          APPROVAL.

            08/25/16      MICHAEL G. FLETCHER                            0.1      $45.00
                          ANALYSIS RE RESPONSE BY THE
                          DEFENDANTS RE AMEX

             08/26/16     MICHAEL G. FLETCHER                            0.2      $90.00
                          MULTIPLE E MAILS WITH SANDERSON
                          ABOUT HER CLIENTS REVIEWING THE
                          AMEX STIPULATION

            08/26/16      CRAIG A. WELIN                                 0.1      $45.00
                          REVIEW OF MEMOS RE THE STATUS OF
                          THE FINALIZATION OF THE AMEX
                          STIPULATION.

            08/26/16      CHRISTOPHER CROWELL                            0.2      $63.00
                          FOLLOW UP WITH DEFENDANTS COUNSEL
                          G. SANDERSON RE: STIPULATION AS TO
                          AMKX CLAIMS

            08/26/16      CHRISTOPHER CROWELL                            0.1      $31.50
                          WORK RE: FINALIZING STIPULATION
                          RE: TREATMENT OF AMERICAN EXPRESS
                          CLAIMS.

            08/29/16      MICHAEL G. FLETCHER                            0.1      $45.00
                          ANALYSIS RE FINALIZING THE AMEX
                          STIPULATION


            08/29/16      MICHAEL G. FLETCHER                            0.2      $90.00
                          ANALYSIS RE RESPONSES RE THE AMEX
                          STIPULATION




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                                   #:3992
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                              LAWYERS
                                    1000 WlLSI!IRE BOULEVARD
                                       NINETEENTH FLOOR
                                    LOS ANGELES, C A 90017-2427
                                       FEDERAL ID It XX-XXXXXXX
                                           www.Frandzel.com




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                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                           HOURS      AMOUNT

             08/29/16     CHRISTOPHER CROWELL                        0.3      $94.50
                          WORK TO DETERMINE WHETHER AMEX IS
                          IN AGREEMENT WITH FORM OF
                          STIPULATION RESOLVING ITS CLAIM.

            08/30/16      MICHAEL G. FLETCHER                        0.1      $45.00
                          E MAIL TO KANE AND JEN ABOUT




            08/30/16      MICHAEL G. FLETCHER                        0.1      $45.00
                          E MAIL FROM KLEPPINGER ABOUT
                          CHANGES TO THE AMEX STIPULATION

            08/30/16      MICHAEL G. FLETCHER                        0.1      $45.00
                          ANALYSIS RE REVISING THE AMEX
                          STIPULATION

            *0-8~/-3-0-/i-&™-"G EI R-IS TO-]?H=E-R-"^3R-®W-&LL^-     0.1      $3T-.-5Q-
                              FOLLOW UP WITH S. CURTIN RE:
                              AMERICAN EXPRESS' REQUESTED
                              REVISIONS TO STIPULATION RESOLVING
                             ,ITS CLAIMS AGAINST RECEIVERSHIP
                              ESTATE.

            08/31/16      MICHAEL G. FLETCHER                        0.1      $45.00
                          ANALYSIS RE PREPARATION OF THE
                          REVISED AMEX STIPULATION

            08/31/16      CHRISTOPHER CROWELL                        0.2      $63.00
                          IMPLEMENT AMEX'S REQUESTED
                          REVISIONS TO STIPULATION RE: ITS
                          CLAIM.




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                                   #:3993
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                      1000 WILSHIRE BOULEVARD
                                          NINETEENTH FLOOR
                                      LOS ANGELES,CA 90017-2427
                                         FEDERAL ID   ft XX-XXXXXXX
                                           www.Fiandzel.com




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             FTC V. SALE SLASH, LLC, ETC., ET AL.                             INVOICE # 396079




                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                                      HOURS        AMOUNT

                          Subtotal                                              9.3     $3,793.50


                                                                      TOTAL    40.1    $13,585.50

                                            TOTAL FOR SERVICES                         $13,585.50


                                           ITEMIZED COSTS
                                     Rate = 0.00     Quantity =                   11
                                     PHOTOCOPY (COLOR)                                       2.40
                                     Rate = 0.60     Quantity =                    4
                                     Rate = 0.00     Quantity =                 1333
            08/15/16      262954     ONLINE SEARCHES - Vendor:                             124.34
                                     LEXIS-NEXIS -INV. 1606002031
            08/15/16      262955     LITIGATION SUPPORT VENDORS -                            5.00
                                     Vendor: PACER SERVICE CENTER
                                     -PACER CHARGES FOR THE MONTH
                                     OF JULY 2016 -

                                                        TOTAL COSTS                       $131.74

                                                  TOTAL INVOICE                        $13,717.24




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                                   #:3994
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                        1000 WILSHIRE BOULEVARD
                                            NINE TEENTH FLOOR
                                        LOS ANGELES, CA 90017-2427
                                           FEDERAL ID ft XX-XXXXXXX
                                              www.Fnindzel.com



 ROBB EVANS & ASSOCIATES LLC
 ATTN: BRICK KANE                                                     OCTOBER 17, 2016
 11450 SHELDON STREET                                                 INVOICE # 396483
 SUN VALLEY, CA 91352-1121                                            0131




 FOR LEGAL SERVICES RENDERED THROUGH 09/30/16
 FILE NO: 078410-0055  FILE NAME: FTC V. SALE SLASH, LLC, ETC., ET AL.


 CONTACT: BRICK KANE


                                                           FEES        COSTS         TOTAL

                            PRIOR BALANCE          13,585.50          131.74     13,717.24

    PAYMENTS THRU Oct 17, 2016                              .00          .00             .00
                                SUBTOTAL           13,585.50          131.74     13,717.24

                          CURRENT CHARGES          11,095.50           33.00     11,128.50

                   TOTAL BALANCE DUE              24,681.00           164.74     24,845.74




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                                   #:3995
                    FRANDZEL ROBINS BLOOM & CSATO, L . C .
                                                  LAWYERS
                                       1000 W1LSHIRE BOULEVARD
                                           NINETEEN!II ELOOR
                                       LOS ANGELES, CA 90017-2427
                                          FEDERAL ID II XX-XXXXXXX
                                               www.Frdndzel.com



             ROBB EVANS & ASSOCIATES LLC
             ATTN: BRICK KANE                                            OCTOBER 17, 2016
             11450 SHELDON STREET                                        INVOICE # 396483
             SUN VALLEY, CA 91352 - 1 1 2 1




             FOR LEGAL SERVICES RENDERED THROUGH 09/30/16

             FILE NO:       078410-0055           FTC V. SALE SLASH, LLC, ETC., ET AL.




                                               ITEMIZED SERVICES

                DATE      NAMES/ACTIVITY                              HOURS      AMOUNT

                          CASE ADMINISTRATION
            09/01/16      ELEANE PANG                                   0.2      $39.00
                          PREPARATION OF EMAIL TO RECEIVER'S
                          OFFICE ENCLOSING DOCUMENTATION
                          EFILED FOR POSTING ON WEBSITE.

            09/23/16      CRAIG A. WELIN                                0.1      $45.00
                          TELEPHONE CALL FROM ATTORNEY
                          JOHNSON RE

                          ORAK; A. WKL.'i !v                 - -
                          REVIEW OF VARIOUS ISSUES FOR THE
                          10/3 HEARINGS.

            09/29/16      MICHAEL G. FLETCHER                           0.1      $45.00
                          REVIEW OF COURT'S DETERMINATIONS
                          OF PENDING MOTIONS

            09/29/16      CRAIG A. WELIN                                0.2      $90.00
                          REVIEW OF THE COURT'S ORDER ON THE
                                                                                            %
                          ADMINISTRATIVE MOTION. ANALYSIS
                          RE OUTSTANDING RECEIVERSHIP ISSUES.




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                                   #:3996
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                      1000 W1LSHIRE BOULEVARD
                                         NINETEENTHELOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID U XX-XXXXXXX
                                            www. Frandzel.coin




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                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                             HOURS    AMOUNT

             09/29/16     CRAIG A. WELIN                               0.1    $45.00
                          PREPARATION OF MEMO TO CLIENT RE




                          Subtotal                                    0.9    $354.00


                          ASSET DISPOSITION
            09/01/16      MICHAEL G. FLETCHER                         0.1     $45.00
                          PREPARATION OF REMAINDER OF THE
                          SAN PASCUAL ESCROW CLOSING DEMAND

            09/01/16      MICHAEL G. FLETCHER                         0.2     $90.00
                          MULTIPLE E MAILS WITH D'ALBA ABOUT
                          THE SAN PASCUAL CLOSING AND THE
                          RECEIVER'S DEMAND INTO THE ESCROW

            09/01/16 MICHAEL G. FLETCHER                              0.2       $90.00
               -    : ANALYSTS"R K THE SAN PASCUAL CLOSING                   r_i:"

            09/01/16      MICHAEL G. FLETCHER                         0.1     $45.00
                          ANALYSIS RE THE HEARING DATES RE
                          THE NEW RECEIVER MOTIONS

            09/01/16      CHRISTOPHER CROWELL                         0.3     $94.50
                          COMMUNICATE WITH SERRATOS CHAPTER
                          7 TRUSTEE COUNSEL RE: SAN PASCUAL
                          PROPERTY ESCROW CLOSING AND DEMAND
                          LETTER.




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                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                             LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                       NINETEENTH FLOOR
                                    LOS ANGELES, CA 90017-2427
                                       FEDERAL ID // XX-XXXXXXX
                                          www.FitiiKlzcl.com




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                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                          HOURS       AMOUNT

            09/01/16      ELEANE PANG                               1.1     $214.50
                          PREPARATION OF PROPOSED ORDER RE
                          ABANDONMENT OF DON RICARDO
                          PROPERTY; PREPARATION OF NOTICE OF
                          LODGING; FILED DOCUMENTS
                          ELECTRONICALLY WITH THE COURT.

            09/02/16      MICHAEL G. FLETCHER                       0.2      $90.00
                          MULTIPLE E MAILS WITH THE ESCROW
                          OFFICER FOR THE SAN PASCUAL
                          CLOSING ABOUT THE CLOSING AND THE
                          WIRE TO THE RECEIVER

            09/02/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          PREPARATION OF THE CLOSING AND
                          WIRE RE SAN PASCUAL

            09/02/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          PREPARATION OF THE SUBSTITUTION OF
                          TRUSTEE AND FULL RECONVEYANCE

            09/02/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          PREPARATION OF THE HEARING ON THE
                          RECEIVER'S MOTIONS

            09/02/16      CHRISTOPHER CROWELL                       0.4     $126.00
                          FINALIZE ESCROW DEMAND LETTER RE:
                          SAN PASCUAL PROPERTY.

            09/02/16      CHRISTOPHER CROWELL                       0.2      $63.00
                          TELEPHONE CALL TO SAN PASCUAL
                          ESCROW OFFICER J. WINANS RE:
                          ESCROW DEMAND AND CLOSING.




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                                   #:3998
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                              LAWYERS
                                    1000 WI LSI-II RE BOULEVARD
                                       NINETEENTH FLOOR
                                    LOS ANGELES, CA 90017-2427
                                       FEDERAL ID U XX-XXXXXXX
                                           www.Frandzel.com




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                DATE      NAMES/ACTIVITY                          HOURS       AMOUNT

            09/05/16      CRAIG A. WELIN                             0.2     $90.00
                          REVIEW OF MEMOS RE THE SALE OF THE
                          SERRATOS PROPERTY.

            09/06/16      MICHAEL G. FLETCHER                       0.3     $135.00
                          PREPARATION OF REMAINDER OF THE
                          SUBSTITUTION OF TRUSTEE AND FULL
                          RECONVEYANCE

            09/06/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          E MAIL FROM THE ESCROW OFFICER
                          CONFIRMING THE SAN PASCUAL CLOSING
                          AND WIRE

            09/06/16      MICHAEL G. FLETCHER                       0.2      $90.00
                          MULTIPLE E MAILS WITH JOHNSON




            09/06/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          MULTIPLE E MAILS WITH JOHNSON
                          ABOUT


            09/06/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          ANALYSIS RE FUNDING AND CLOSING ON
                          SAN PASCUAL SALE

            09/06/16      CRAIG A. WELIN                            0.2      $90.00
                          REVIEW OF/RESPONSE TO MEMOS RE THE
                          SERRATOS PROPERTY.




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                                   #:3999
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                       NINETEENTH FLOOR
                                    LOS ANGELES, C A 90017-2427
                                       FEDERAL ID tt XX-XXXXXXX
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                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                          HOURS       AMOUNT

            09/07/16      MICHAEL G. FLETCHER                        0.1      $45.00
                          MULTIPLE E MAILS WITH D'ALBA
                                                 I
                                                       ABOUT
                          THE ORIGINAL LOAN DOCUMENTS

            09/07/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          ANALYSIS RE CONFIRMATION OF THE
                          RECEIPT OF THE MONEY BY THE
                          BANKRUPTCY TRUSTEE

            09/07/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          E MAIL TO D'ALBA ABOUT THE
                          ORIGINAL NOTE

            09/07/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          MULTIPLE E MAILS WITH JEN
                          «
            09/07/16      CHRISTOPHER CROWELL                       0.1      $31.50
                          COMMUNICATE WITH SERRATOS       ••
                          TRUSTEE'S COUNSEL TO CONFIRM
                          TRUSTEE'S RECEIPT OF FUNDS SO THAT
                          RECEIVER CAN DELIVER RECONVEYANCE
                          OF DEED OF TRUST ON SAN PASCUAL
                          PROPERTY.

            09/07/16      CHRISTOPHER CROWELL                       0.1      $31.50
                          CONFIRM RECEIVER'S RECEIPT OF
                          $461,500 FROM SAN PASCUAL ESCROW.

            09/07/16      CHRISTOPHER CROWELL                       0.1      $31.50
                          COMMUNICATE WITH RECEIVER
                          PERSONNEL




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                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                   LAWYERS
                                         1000 WILSHIRE BOULEVARD
                                             NINETEENTH FLOOR
                                         LOS ANGELES, CA 90017-2427
                                            FEDERAL ID II XX-XXXXXXX
                                               www.Frandzel.com




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                DATE          NAMES/ACTIVITY                                         HOURS        AMOUNT


             09/06/16         CRAIG A. WELIN                                           0.2        $90.00
                              REVIEW OF/RESPONSE TO MEMOS RE THE
                              NOTE SALE.


             09/06/16         CHRISTOPHER CROWELL                                     1.1        $346.50
                              PREPARE SUBSTITUTION OF TRUSTEE
                              AND FULL RECONVEYANCE WITH REGARD
                              TO OPTIM DEED OF TRUST ON SAN
                              PASCUAL PROPERTY, IN ANTICIPATION
                              OF ESCROW CLOSING THIS WEEK.


            09/06/16          CHRISTOPHER CROWELL                                     0.1         $31.50
                              COMMUNICATE WITH ESCROW OFFICER
                              RE: STATUS OF TODAY'S OR
                              TOMORROW'S ESCROW CLOSING.


            09/06/16          CHRISTOPHER CROWELL                                     0.1         $31.50
                              CONFIRM TODAY'S CLOSING OF ESCROW
                          —




            09/07/16          MICHAEL G. FLETCHER                                     0.1         $45.00
                              MULTIPLE E MAILS WITH GILL ABOUT
                              THE CLOSING


            09/07/16          MICHAEL G. FLETCHER                                     0.1         $45.00
                              MULTIPLE E MAILS WITH THE RECEIVER
                              CONFIRMING RECEIPT OF THE SAN
                              PASCUAL PROCEEDS AND ARRANGEMENTS
                              WITH THE TRUSTEE


            09/07/16          MICHAEL G. FLETCHER                                     0.1    '    $45.00
                              E MAIL TO JOHNSON ABOUT




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                                   #:4001
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                       LAWYERS
                                            1000 WILS1 (IRE BOULEVARD
                                                NINETEENTH ELOOR
                                           LOS ANGELES, CA 90017-2427
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                DATE      NAMES/ACTIVITY                                            HOURS      AMOUNT




            09/08/16      CRAIG A. WELIN                                                0.1    $45.00
                          REVIEW OF/RESPONSE TO MEMO FROM
                          CLIENT RE


            09/09/16      MICHAEL G. FLETCHER                                           0.1    $45.00
                          E MAIL FROM D'ALBA CONFIRMING
                          RECEIPT OF THE ORIGINAL OPTIM
                          DOCUMENTS


            09/09/16      CRAIG A. WELIN                                                0.2    $90.00
                          PREPARATION OF INSTRUCTIONS RE THE
                          DRAFT NOTE SALE AGREEMENT.


            09/11/16      CRATC, A. WELIN                                                     $1 35 . 0 0
                          REVIEW OF/RESPONSE TO MEMOS RE
                          COMPLETION OF THE SALE OF THE
                          SERRATOS PROPERTY.


            09/11/16      CRAIG A. WELIN                                                0.4   $180.00
                          R E V I E W OF/ R E S P O N S E T O   MEMOS     RE THE
                          SANTA ANITA NOTE SALE.


            09/12/16      CRAIG A. WELIN                                                0.5   $225.00
                          T E L E P H O N E CALL T O A T T O R N E Y
                          SANDERSON RE THE NOTE SALE.
                          PREPARATION OF MEMOS TO CLIENT                  RE
                                                                  TELEPHONE
                          CALL FROM CLIENT.




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                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                  LAWYERS
                                        1000 VVILSH1RE BOULEVARD
                                            NINETEENTH FLOOR
                                        LOS ANGELES, CA 90017-2427
                                           FEDERAL ID It XX-XXXXXXX
                                              www,JFrandzcl.com




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                 DATE      NAMES/ACTIVITY                                           HOURS    AMOUNT


             09/12/16      CRAIG A. WELIN                                             0.4   $180.00
                           ANALYSIS RE NOTE SALE ISSUES.
                           REVIEW OF/RESPONSE TO MEMOS RE THE
                           NOTE SALE ISSUES.


             09/12/16      BRIAN L . BLOOM                                           1.8    $567.00
                           REVISE LOAN SALE AGREEMENT
                           (VERSION 2)


             09/13/16      CRAIG A. WELIN                                            0.2     $90.00
                           REVIEW OF/RESPONSE TO MEMOS                FROM
                           CLIENT RE


             09/13/16      CRAIG A. WELIN                                            0.4    $180.00
                           REVIEW OF/RESPONSE TO MEMOS FROM
                           ATTORNEY SANDERSON RE THE NOTE
                           SALE ISSUES.   PREPARATION OF
                           INSTRUCTIONS RE ADDITIONAL ISSUES
                           T0R^HE=MfE"^Sa;-r,-="'a"'""                   -
             09/13/16      CRAIG A. WELIN                                            0.8    $360.00
                           REVIEW OF AND REVISIONS TO THE
                           DRAFT NOTE SALE AGREEMENT. REVIEW
                           OF THE DRAFT ALLONGE AND
                           ASSIGNMENT FROM OPTIM.
                           PREPARATION OF MEMO TO CLIENT RE



             09/13/16      BRIAN L . BLOOM                                           0.6    $189.00
                           CONTINUE REVISING LOAN SALE
                           AGREEMENT (VERSION 2)




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                                   #:4003
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                   LAWYERS
                                        1000 WILSH1RE BOULEVARD
                                            NINETEENTH FLOOR
                                        LOS ANGELES, C A 90017-2427
                                           FEDERAL ID tt XX-XXXXXXX
                                                www.Frandzel.com




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                                      ITEMIZED SERVICES            (CONTINUED)


                 DATE     NAMES/ACTIVITY                                         HOURS           AMOUNT


             09/13/16     BRIAN L . BLOOM                                          0.3           $94.50
                          DRAFT ASSIGNMENT OF DEED OF TRUST
                          FROM OPTIM PRODUCTS, LLC, TO
                          RECEIVER


             09/13/16     BRIAN L . BLOOM                                         0.1            $31.50
                          DRAFT ALLONGE FROM OPTIM PRODUCTS,
                          LLC, TO RECEIVER


             09/14/16     CRAIG A. WELIN                                          0.7           $315.00
                          REVISION OF THE DRAFT LSA PER THE
                          CLIENT'S COMMENTS.  REVISION OF
                          THE DRAFT ALLONGE AND ASSIGNMENT
                          OF THE DEED OF TRUST.  PREPARATION
                          OF MEMO TO ATTORNEY SANDERSON.
                          PREPARATION OF MEMO TO THE BUYER'S
                          COUNSEL.  REVIEW OF MEMO FROM THE
                          BUYER.

            v:'./1'17t6   bria'n" it. ""bloom                  :                                 $63.00
                          REVISE LOAN SALE AGREEMENT
                          (VERSION 2 ) , BASED ON KENT
                          JOHNSON'S 9 / 1 3 / 1 6 EMAIL


            09/14/16      BRIAN L . BLOOM                                         0.1            $31.50
                          EMAIL TO ANDREW PARKER RE: FORWARD
                          REVISED DRAFT OF LSA (VERSION 2 )
                          FOR REVIEW


            09/14/16      BRIAN L . BLOOM                                         0. 1           $31•50
                          EMAILS FROM NELS STEMM RE:               STATUS
                          OF LOAN SALE AGREEMENT




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                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                        LAWYERS
                                            1000 WILSHIRE BOULEVARD
                                                NINETEENTH FLOOR
                                            LOS ANGELES, CA 90017-2427
                                               FEDERAL ID tt XX-XXXXXXX
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                                          ITEMIZED SERVICES               (CONTINUED)


                DATE      NAMES/ACTIVITY                                                  HOURS           AMOUNT


             09/15/16     CRAIG A. WELIN                                                    0.4          $180.00
                          REVIEW OF/RESPONSE TO MEMOS RE THE
                          SANTA ANITA LOAN DOCUMENTATION
                          ISSUES.  PREPARATION OF
                          INSTRUCTIONS RE THE LOST NOTE
                          AFFIDAVIT. REVIEW OF THE DRAFT
                          AFFIDAVIT.


            09/15/16      CRAIG A. WELIN                                                    0.3          $135.00
                          PREPARATION OF MEMO TO ATTORNEY
                          SANDERSON RE THE NOTE SALE
                          DOCUMENTATION.  REVIEW OF/RESPONSE
                          TO MEMOS FROM SANDERSON.


            09/15/16      BRIAN L . BLOOM                                                   0.1          $31.50
                          EMAILS FROM/TO GINNY SANDERSON RE:
                          STATUS OF EXECUTION OF ALLONGE AND
                          ASSIGNMENT OF DEED OF TRUST FROM
                          OPTIM PRODUCTS, LLC; FORWARD LOST
                          N O T E A F F I D A V I T F O R R B V T - E W - A N D US E ~


            09/15/16      BRIAN L . BLOOM                                                   0.4      $126.00
                          DRAFT AFFIDAVIT OF LOST ORIGINAL
                          NOTE


            09/16/16      CRAIG A. WELIN                                                    0.5      $225.00
                          REVIEW OF/RESPONSE TO MEMOS FROM
                          THE NOTE BUYER. REVIEW OF/RESPONSE
                          TO MEMOS FROM CLIENT.


            09/16/16      CRAIG A. WELIN                                                    0.1          $45.00
                          REVIEW OF MEMOS RE THE LOST NOTE
                          AFFIDAVIT.




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                                   #:4005
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                  LAWYERS
                                         1000 WiLSHIRE BOULEVARD
                                             NINETEENTH FLOOR
                                         LOS ANGELES, CA 90017-2427
                                            FEDERAL ID II XX-XXXXXXX
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                                        ITEMIZED SERVICES        (CONTINUED)


                DATE          NAMES/ACTIVITY                                   HOURS      AMOUNT


             09/16/16       BRIAN L . BLOOM                                      0.2      $63.00
                            EMAILS FROM/TO NELS STEMM RE:
                            REQUESTED CHANGES TO LOAN SALE
                            AGREEMENT; FORWARD AGREEMENT FOR
                            REVIEW AND EXECUTION


             09/16/16       BRIAN L . BLOOM                                      0.3      $94.50
                            FINALIZE LOAN SALE AGREEMENT


            09/19/16        CRAIG A. WELIN                                      0.2       $90.00
                            REVIEW OF/RESPONSE TO MEMOS RE THE
                            SALE OF THE SANTA ANITA NOTE.


            09/19/16        CRAIG A. WELIN                                      0.1       $45.00
                            PREPARATION OF MEMO TO ATTORNEY
                            SANDERSON RE THE DOCUMENTATION FOR
                            THE NOTE SALE.


            09/19/16        BRIAN L . BLOOM                                     0.1       $31.50
                            EMAIL FROM NHI.S STEMM RE: STATUS
                            OF BUYER'S REVIEW OF LOAN SALE
                            AGREEMENT


            09/20/16        CRAIG A: WELIN                                      1.0     $450.00
                            REVIEW OF/RESPONSE TO MEMO FROM
                            ATTORNEY SANDERSON.  REVIEW
                            OF/RESPONSE TO MEMOS FROM CLIENT.
                            REVIEW OF THE LSA RE SELLER
                            DELIVERABLES.  TELEPHONE CALL FROM
                            CLIENT.




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                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                LAWYERS
                                       1000 WILSHIRE BOULEVARD
                                           NINETEENTH FLOOR
                                       LOS ANGELES, CA 90017-2427
                                          FEDERAL ID « XX-XXXXXXX
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                 DATE     NAMES/ACTIVITY                                      HOURS      AMOUNT


             09/20/16     BRIAN L. BLOOM                                        0.1      $31.50
                          EMAILS TO/FROM KENTON JOHNSON AND
                          ANITA JEN RE: RECEIVER'S WIRING
                          INSTRUCTIONS


             09/20/16     BRIAN L. BLOOM                                       0.1       $31.50
                          EMAILS FROM/TO ROSANN HARRIS RE:
                          STATUS OF MATTER; FORWARD
                          RECEIVER'S WIRING INSTRUCTIONS


             09/20/16     BRIAN L. BLOOM                                       0.1       $31.50
                          EMAIL FROM CARSON RASMUSSEN RE:
                          BUYER PREPARED TO WIRE FUNDS


             09/20/16     BRIAN L. BLOOM                                       0.1       $31.50
                          REVIEW LOAN SALE AGREEMENT
                          EXECUTED BY BUYER


            09/21/16 CRAIG A. WELIN                                            0.4     $180.00
                 — - TELKi'HONK- CALLS    FROM CLIENT RK
                                                  REVIEW
                          OF/RESPONSE TO MEMO FROM ATTORNEY
                          SANDERSON.


            09/23/16      CRAIG A. WELIN                                       0.2       $90.00
                          PREPARATION OF MEMO TO ATTORNEY
                          SANDERSON RE THE NOTE SALE.
                          REVIEW OF MEMO FROM ATTORNEY
                          SANDERSON.

            09/26/16      CRAIG A. WELIN                                       0.2       $90.00
                          TELEPHONE CALL FROM CLIENT RE|




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                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                   LAWYERS
                                        1000 WILSHIRE BOULEVARD
                                            NINE TEENTH ELOOR
                                        LOS ANGELES, CA 90017-2427
                                           FEDERAL ID ft XX-XXXXXXX
                                              www. l : i,_]iKl/rl com




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                                      ITEMIZED SERVICES                 (CONTINUED)


                DATE      NAMES/ACTIVITY                                              HOURS       AMOUNT

             09/27/16     CRAIG A. WELIN                                                0.2       $90.00
                          REVIEW OF/RESPONSE TO MEMOS                   FROM
                          THE NOTE BUYER.

             09/27/16     BRIAN L . BLOOM                                              0.1        $31.50
                          EMAIL FROM CARSON RASMUSSEN RE:
                          STATUS OF EXECUTION OF LOAN SALE
                          AGREEMENT


            09/29/16      CRAIG A. WELIN                                               0.2        $90.00
                          TELEPHONE CALL FROM CLIENT RE Tfffi-



            09/29/16      CRAIG A. WELIN                                               0.2        $90.00
                          REVIEW OF MEMO AND DOCUMENTATION
                          FROM ATTORNEY SANDERSON.
                          PREPARATION OF MEMO TO SANDERSON.


                          Subtotal                                                    19.7    $7,599.00



                          FEE/EMPLOYMENT APPLICATIONS
            09/01/16      CHRISTOPHER CROWELL                                          0.2        $63.00
                          P H O N E C A L L FROM B. KANE R E :




            09/01/16      CHRISTOPHER CROWELL                                          0.7     $220.50
                          FURTHER REVISIONS TO FEE
                          APPLICATION.




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                                   #:4008
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                    LAWYERS
                                           1000 WiLSIHRE BOULEVARD
                                              NINETEENTH FLOOR
                                          LOS ANGELES, CA 90017-2427
                                             FEDERAL ID II XX-XXXXXXX
                                                 www.Frandzcl.com




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             FTC V. SALE SLASH, LLC, ETC.,                ET AL.              INVOICE #     396483




                                         ITEMIZED SERVICES          (CONTINUED)


                DATE        NAMES/ACTIVITY                                        HOURS        AMOUNT

             09/01/16       ELEANE PANG                                            1.1        $214.50
                            PREPARATION OF ELECTRONIC FILING
                            OF MOTION FOR APPROVAL OF FEES FOR
                            APR-JUL 2 0 1 6 AND MOTION FOR ORDER
                            APPROVING ABANDONMENT OF REAL
                            PROPERTY; SUPPORTING
                            DOCUMENTATION/EXHIBITS; NOTICE OF
                            HEARING; PROPOSED ORDER AND PROOFS
                            OF SERVICE; UPLOADING ORDERS.


            09/01/16        ELEANE PANG                                            1.2        $234.00
                            PREPARATION OF ATTORNEY SERVICE
                            INSTRUCTIONS REGARDING DELIVERY OF
                            COURTESY COPIES TO JUDGE'S
                            CHAMBER; FORMATTING OF SAME TO
                            COMPLY WITH LOCAL RULES; ASSEMBLY
                            AND PACKAGING; COORDINATING
                            DELIVERY TO MEET JUDGE'S DEADLINE.

            G9/1'•?/'J vi   C'i 11< I STOSMiKR GROVvKLL                       -- - 0 . 6   —$-189. 00
                            BEGIN PREPARING FINAL FEE
                            APPLICATION.

            09/14/16        BRIAN L. BLOOM                                         0.1        $31.50
                            REVISE ALLONGE AND ASSIGNMENT               OF
                            DEED OF TRUST

            09/16/16        CHRISTOPHER CROWELL                                    0.1        $31.50
                            PREPARE FOR UPCOMING HEARING ON
                            INTERIM FEE APPLICATION.


            09/30/16        CHRISTOPHER CROWELL                                    0.1        $31.50
                            REVIEW RULING APPROVING RECEIVER'S
                            INTERIM FEE APPLICATION.




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                                   #:4009
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                LAWYERS
                                      1000 W1LSH1RE BOULEVARD
                                          NINETEENTH FLOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID # XX-XXXXXXX
                                            w w w . Frandzel.com




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             FTC V. SALE SLASH, LLC, ETC., ET AL.                  INVOICE # 396483



                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                           HOURS       AMOUNT

                          Subtotal                                   4. 1   $1,015.50


                          TAX ISSUES
            09/23/16      CRAIG A. WELIN                             0.1      $45.00
                          REVIEW OF MEMOS FROM CLIENT RE


                          Subtotal                                   0.1      $45.00


                          CLAIMS ADMINISTRATION AND OBJECTIONS
            09/01/16      MICHAEL G. FLETCHER                        0.2      $90.00
                          PREPARATION OF REMAINDER OF THE
                          AMEX STIPULATION CHANGES

            09/01/16      CHRISTOPHER CROWELL                        0.2      $63.00
                          PHONE CALL FROM AMEX COUNSEL RE:
                          STATUS OK STIPULATION.    •

            09/01/16      CHRISTOPHER CROWELL                        0.3      $94.50
                          CIRCULATE REVISED STIPULATION RE:
                          TREATMENT OF AMERICAN EXPRESS
                          CLAIMS TO COUNSEL FOR APPROVAL AND
                          SIGNATURES.

            09/02/16      MICHAEL G. FLETCHER                        0.1      $45.00
                          ANALYSIS RE CONFIRMATION OF THE
                          FILING OF THE AMEX STIPULATION

            09/02/16      MICHAEL G. FLETCHER                        0.2      $90.00
                          MULTIPLE E MAILS WITH SANDERSON
                          ABOUT AMEX AND FTC APPROVAL OF THE
                          REVISED STIPULATION AND HER
                          SIGNING THE STIPULATION




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                                   #:4010
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                             LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                       NINETEENTH ELOOR
                                    LOS ANGELES, CA 90017-2427
                                       FEDERAL ID it XX-XXXXXXX
                                          www.Frandzel.com




             ROBB EVANS & ASSOCIATES LLC                          PAGE: 16
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             FTC V. SALE SLASH, LLC, ETC.      !   ET AL.         INVOICE # 396483


                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                          HOURS      AMOUNT

                          ELECTRONICALLY

            09/02/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          E MAIL TO KANE, JEN, AND JOHNSON
                          ABOUT


            09/02/16      MICHAEL G. FLETCHER                       0.1      $45.00
                          PREPARATION OF THE AMEX REVISED
                          STIPULATION FOR FILING

            09/02/16      MICHAEL G. FLETCHER                       0 .1     $45.00
                          E MAIL FROM WERNZ APPROVING
                          SIGNING THE STIPULATION
                          ELECTRONICALLY

            09/02/16      MICHAEL G. FLETCHER                       0.1      $45.00'
                          E MAIL FROM AMEX'S COUNSEL SIGNING
                          THE ST I PULATIOK

            09/02/16      CHRISTOPHER CROWELL                       0.3      $94.50
                          FINALIZE STIPULATION RE: AMERICAN
                          EXPRESS CLAIMS.

            09/02/16      ELEANE PANG                               0.4      $78.00
                          PREPARATION OF PROPOSED ORDER
                          REGARDING STIPULATION RE CLAIMS OF
                          AMERICAN EXPRESS BANK.

            09/02/16      ELEANE PANG                               0.3      $58.50
                          PREPARATION OF ATTORNEY SERVICE
                          INSTRUCTIONS REGARDING DELIVERY OF
                          COURTESY COPY REGARDING AMERICAN
                          EXPRESS STIPULATION AND PROPOSED




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                                   #:4011
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                     1000 WILSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                     LOS ANGELES, CA 90017-2427
                                        FEDERAL ID # XX-XXXXXXX
                                            www.Frandzel.com




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                                    ITEMIZED SERVICES          (CONTINUED)

                 DATE      NAMES/ACTIVITY                                HOURS     AMOUNT

                           ORDER TO JUDGE'S CHAMBERS;
                           FORMATTING OF SAME TO COMPLY WITH
                           LOCAL RULES; ASSEMBLY AND
                           PACKAGING OF SAME; COORDINATING
                           DELIVERY TO ATTORNEY SERVICE TO
                           MEET JUDGE'S DEADLINE.

             09/02/16      ELEANE PANG                                       0.5   $97.50
                           FINALIZATION AND FORMATTING OF
                           STIPULATION RE CLAIMS OF AMERICAN
                           EXPRESS BANK AND PROPOSED ORDER
                           FOR FILING WITH THE CENTRAL
                           DISTRICT COURT; FILED DOCUMENTS
                           ELECTRONICALLY WITH THE COURT;
                           UPLOADED ORDER; PROCESSING IN
                           ACCORDANCE. WITH COURT PROCEDURES.

             09/02/16      ELEANE PANG                                       0.2   $39.00
                           PREPARATION"OF F'MAJL TO CLIENT AND
                           HANDLING ATTORNEYS REGARDING FILED
                           STIPULATION RE CLAIMS AS TO
                           AMERICAN EXPRESS BANK EFILED TODAY
                           WITH PROPOSED ORDER.

             09/05/16      CRAIG A. WELIN                                    0.2   $90.00
                           REVIEW OF MEMOS RE THE AMEX
                           STIPULATION ISSUES.

             09/06/16      MICHAEL G. FLETCHER                               0.1   $45.00
                           ANALYSIS RE PAYMENT OF THE AMEX
                           CLAIM AND THE PAYEE OF THE
                           RECEIVER'S CHECK




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                                   #:4012
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                              LAWYERS
                                     1000 W1LSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                     LOS ANGELES, C A 90017-2427
                                        FEDERAL ID// XX-XXXXXXX
                                           www.Frandzel.com




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                                    ITEMIZED SERVICES (CONTINUED)

                 DATE      NAMES/ACTIVITY                          HOURS      AMOUNT

              09/06/16     MICHAEL G. FLETCHER                       0.1      $45.00
                           MULTIPLE E MAILS WITH KLEPPINGER
                           ABOUT THE SUBMISSION OF THE
                           STIPULATION AND PAYMENT OF THE
                           AMEX CLAIM AND THE PAYEE OF THE
                           RECEIVER'S CHECK

             09/06/16      MICHAEL G. FLETCHER                       0.1      $45.00
                           E MAIL TO KANE, JEN, AND JOHNSON



             09/06/16      MICHAEL G. FLETCHER                       0.1      $45.00
                           REVIEW OF COURT ELECTRONIC NOTICE
                           OF THE APPROVAL OF THE AMEX
                           STIPULATION
             09/'0'6/16    MTCKAEL G. FLETCHER         ™"-"          Q_i —    $45. 00
                           E MAIL TO KANE, JEN, AND JOHNSON
                           ABOUT



             09/06/16      CRAIG A. WELIN                            0.2      $90.00
                           REVIEW OF MEMOS RE THE AMEX
                           SETTLEMENT.

             09/06/16      CHRISTOPHER CROWELL                       0.1      $31.50
                           REVIEW ENTERED ORDER APPROVING
                           AMERICAN EXPRESS STIPULATION.




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                                   #:4013
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                       1000 WILSHIRE BOULEVARD
                                          NINE TEENTH FLOOR
                                       LOS ANGELES, CA 90017-2427
                                          FEDERAL ID II XX-XXXXXXX
                                             wwwJ;!jni(!zel,conj




             ROBB EVANS & ASSOCIATES LLC                             PAGE: 19
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                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                             HOURS      AMOUNT

             09/06/16     CHRISTOPHER    CROWELL                       0.2      $63.00
                          COMMUNICATE    WITH AMERICAN EXPRESS
                          COUNSEL RE:    (1) STATUS OF CLAIMS
                          STIPULATION    AND (2) ADDRESS FOR
                          PAYMENTS TO    AMERICAN EXPRESS.

            09/07/16      MICHAEL G. FLETCHER                          0.1      $45.00
                          ANALYSIS RE THE CLAIMS PROCESS AND
                          NOTICES

            09/07/16      CHRISTOPHER CROWELL                          0.4     $126.00
                          ANALYSIS RE: HOW BEST TO OBTAIN
                          COURT APPROVAL OF DISTRIBUTIONS TO
                          RECEIVERSHIP CREDITORS, AND WHAT
                          THOSE DISTRIBUTIONS ARE LIKELY TO
                          BE.
            09/09/16      MICHAEL G. FLETCHER                          0.1      $45.00
            —             MULTTPLE E -MAILS—-WI-T-H- • KLEP PINGER
                          ABOUT PAYMENT TO AMEX

            09/09/16      MICHAEL G. FLETCHER                          0.1      $45.00
                          E MAIL TO KANE, JEN, AND JOHNSON
                          ABOUT THE CLAIMS PROCESS AND
                          PAYMENT TO AMEX

            09/09/16      CHRISTOPHER CROWELL                          0.1      $31.50
                          ANALYSIS RE: TIMING FOR PAYMENT OF
                          AMEX CLAIMS.

            09/11/16      CRAIG A. WELIN                               0.2      $90.00
                          REVIEW OF/ANALYSIS OF MEMOS RE
                          DISTRIBUTION ISSUES.




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                                   #:4014
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                       1000 WILSHIRE BOULEVARD
                                           NINETEENTH FLOOR
                                       LOS ANGELES, CA 90017-2427
                                          FEDERAL ID it XX-XXXXXXX
                                             www. Frandzel.com




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                                      ITEMIZED SERVICES (CONTINUED)

                 DATE      NAMES/ACTIVITY                                HOURS        AMOUNT

              09/12/16     CRAIG A. WELIN                                  0.2        $90.00
                           REVIEW OF MEMOS RE LIBERTY MUTUAL
                           CREDITOR ISSUES.

             09/13/16      MICHAEL G. FLETCHER                             0.1        $45.00
                           E MAIL FROM JEN ABOUT


             09/13/16      MICHAEL G. FLETCHER                             0.1        $45.00
                           MULTIPLE E MAILS WITH KLEPPINGER
                           ABOUT RECEIPT OF THE PAYMENT CHECK

             09/13/16      MICHAEL G. FLETCHER                             0.1        $45.00
                           MULTIPLE E MAILS WITH KLEPPINGER
                           ABOUT THE AMEX PAYMENT FROM THE
                           RECEIVER

             09/13/16      CRAIG A. WELIN                                  0.1        $45.00
                           REVIEW OF MEMOS RE CREDITOR ISSUES.

                           Subtotal                                        5.9     $2,082.00


                                                                 TOTAL    30.7    $11,095.50

                                             TOTAL FOR SERVICES                   $11,095.50


                                            ITEMIZED COSTS
                                      Rate = 0.00     Quantity =             24
                                      PHOTOCOPY (COLOR)                                 6.60
                                      Rate = 0.60     Quantity =             11
                                      Rate = 0.00     Quantity =           1296
             09/19/16      263268     LITIGATION SUPPORT VENDORS                      26.40




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                                   #:4015
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                          LAWYERS
                                 1000 WILSHIRE BOULEVARD
                                     NINETEENTH FLOOR
                                 LOS ANGELES, CA 90017-2427
                                    FEDERAL ID II XX-XXXXXXX
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                                ITEMIZED COSTS (CONTINUED)

                                Vendor: PACER SERVICE CENTER
                                -PACER CHARGES FOR THE MONTH
                                OF AUGUST 2016 -

                                                  TOTAL COSTS              $33.00

                                              TOTAL INVOICE            $11,128.50




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                                   #:4016
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                        1000 WILSHIRE BOULEVARD
                                            NINETEENTH FLOOR
                                        LOS ANGELES, CA 90017-2427
                                           FEDERAL ID It XX-XXXXXXX
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             ROBB EVANS & ASSOCIATES LL.C                                     PAGE: 22
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             FTC V. SALE SLASH, LLC, ETC., ET AL.                             INVOICE # 396483




    ATTORNEY SUMMARY

                                          HOURS NOT                HOURS       BILLED         BILL
                                            CHARGED              CHARGED     PER HOUR       AMOUNT
    MICHAEL G. FLETCHER                            .00              4 . 80     450.00     2,160.00
    CRAIG A. WELIN                                 .00             10.20       450.00     4,590.00
    BRIAN L. BLOOM                                 .00              4.90       315.00     1,543.50
    CHRISTOPHER D. CROWELL                         .00              5.80       315.00     1,827.00
    ELEANE PANG                                    .00              5.00       195.00       975.00
                          : = = ~z=::

    TOTAL ALL ATTORNEYS                            .00             30.70      361.42     11,095.50

                                                         TOTAL FOR SERVICES             $11,095.50

                                                             TOTAL FOR COSTS                $33.00

                                                         TOTAL THIS INVOICE             $11,128.50




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                                   #:4017
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                  LAWYERS
                                         1000 WILSHIRE BOULEVARD
                                             NINETEENTH FLOOR
                                         LOS ANGELES, CA 90017-2427
                                                      II
                                            FEDERAL ID XX-XXXXXXX
                                               www.Franclzel.com




  ROBB EVANS & ASSOCIATES LLC
  ATTN: BRICK KANE                                                    NOVEMBER 9, 2016
  11450 SHELDON STREET                                                INVOICE # 396768
  SUN VALLEY, CA   91352-1121                                         0131




 FOR LEGAL SERVICES RENDERED THROUGH 10/31/16
 FILE NO: 078410-0055 FILE NAME: FTC V. SALE SLASH, LLC, ETC., ET AL.


 CONTACT: BRICK KANE


                                                            FEES        COSTS        TOTAL

                             PRIOR BALANCE         24,681.00           164.74    24,845.74

     PAYMENTS THRU Nov 09, 2016                    -2,868.26          -131.74    -3,000.00

                                 SUBTOTAL          21,812.74            33.00    21,845.74

                           CURRENT CHARGES          3,816.00            73.31     3,889.31

                    TOTAL BALANCE DUE              25,628.74          106.31     25,735.05




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                                   #:4018
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                     1000 WILSH1RE BOULEVARD
                                         NINETEENTH FLOOR
                                     LOS ANGELES,CA 90017-2427
                                        FEDERAL [D H XX-XXXXXXX
                                           www. Frandzel.com




              ROBB EVANS & ASSOCIATES LLC
              ATTN: BRICK KANE                                        NOVEMBER 9, 2016
              11450 SHELDON STREET                                    INVOICE # 396768
              SUN VALLEY, CA 91352-1121




              FOR LEGAL SERVICES RENDERED THROUGH 10/31/16

              FILE NO:       078410-0055       FTC V. SALE SLASH, LLC, ETC., ET AL.




                                            ITEMIZED SERVICES

                 DATE      NAMES/ACTIVITY                           HOURS     AMOUNT

                           CASE ADMINISTRATION
             10/03/16      CRAIG A. WELIN                             0.2     $90.00
                           INITIAL ANALYSIS RE THE ISSUES FOR
                           THE FINAL ACCOUNTING.

             10/03/16      CHRISTOPHER CROWELL                       0.2      $63.00
                           ANALYSIS RE: PREPARATION OF MOTION
                           TO APPROVE FINAL REPORT AND
                           ACCOUNTING.

             10/17/16      CRAIG A. WELIN                            0.3     $135.00
                           ANALYSIS RE FINAL ACCOUNTING
                           ISSUES.

             10/17/16      CRAIG A. WELIN                            0.2      $90.00
                           TELEPHONE CALL FROM CLIENT RE THE
                           RECEIVER'S FINAL ACCOUNTING.

             10/17/16      CHRISTOPHER CROWELL                       0.3      $94.50
                           ANALYSIS RE: TIMING FOR FILING
                           MOTION FOR FINAL REPORT AND
                           ACCOUNTING AND NECESSARY
                           INGREDIENTS TO FINALIZE SAME.




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                                   #:4019
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                               LAWYERS
                                     1000 WILSMIRE BOULEVARD
                                         NINETEENTH FLOOR
                                     LOS ANGELES, CA 90017-2427
                                        FEDERAL ID II XX-XXXXXXX
                                           www.Frandzcl.com




              ROBB EVANS & ASSOCIATES LLC
              ATTN: BRICK KANE                                        NOVEMBER 9, 2016
              11450 SHELDON STREET                                    INVOICE # 396768
              SUN VALLEY, CA 91352-1121




              FOR LEGAL SERVICES RENDERED THROUGH 10/31/16

             FILE NO:        078410-0055       FTC V. SALE SLASH, LLC, ETC., ET AL.




                                            ITEMIZED SERVICES

                 DATE      NAMES/ACTIVITY                          HOURS      AMOUNT

                           CASE ADMINISTRATION
             10/03/16      CRAIG A. WELIN                             0.2     $90.00
                           INITIAL ANALYSIS RE THE ISSUES FOR
                           THE FINAL ACCOUNTING.

             10/03/16      CHRISTOPHER CROWELL                        0.2     $63.00
                           ANALYSIS RE: PREPARATION OF MOTION
                           TO APPROVE FINAL REPORT AND
                           ACCOUNTING.

             10/17/16      CRAIG A. WELIN                            0.3     $135.00
                           ANALYSIS RE FINAL ACCOUNTING
                           ISSUES.

             10/17/16      CRAIG A. WELIN                            0.2      $90.00
                           TELEPHONE CALL FROM CLIENT RE
                                                              w-
             10/17/16      CHRISTOPHER CROWELL                       0.3      $94.50
                           ANALYSIS RE: TIMING FOR FILING
                           MOTION FOR FINAL REPORT AND
                           ACCOUNTING AND NECESSARY
                           INGREDIENTS TO FINALIZE SAME.




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                                   #:4020
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                       1000 WILSHIRE BOULEVARD
                                          NINETEENTH FLOOR
                                       LOS ANGELES, CA 90017-2427
                                          FEDERAL ID II XX-XXXXXXX
                                             www.Fnindzel.com




              ROBB EVANS & ASSOCIATES LLC                            I 3 AGE :   2
              FILE NO:    078410-0055                                NOVEMBER 9, 2016
              FTC V. SALE SLASH, LLC, ETC., ET AL.                   INVOICE # 396768




                                     ITEMIZED SERVICES (CONTINUED)

                 DATE      NAMES/ACTIVITY                             HOURS           AMOUNT



              10/24/16     CRAIG A. WELIN                                 0.2         $90.00
                           REVIEW OF/RESPONSE TO MEMOS FROM
                           CLIENT RE OUTSTANDING RECEIVERSHIP
                           TERMINATION ISSUES.

             10/26/16      MICHAEL G. FLETCHER                            0.1         $45.00
                           E MAIL FROM SANDERSON ABOUT OPEN
                           QUESTIONS

             10/27/16      CRAIG A. WELIN                                0.4         $180.00
                           REVIEW OF MEMO FROM CLIENT RE
                           FINAL ACCOUNTING ISSUES.
                           TELEPHONE CALL TO CLIENTS RE



             10/27/16      CHRISTOPHER CROWELL                           0.3          $94.50
                           PREPARE SHORT PLEADING ADVISING
                           JUDGE OF STATUS OF WRAPPING UP
                           RECEIVERS!!.! 9 AMD REASONS i-'OR DELAY
                           IN SAME.

             10/28/16      CHRISTOPHER CROWELL                           0.1          $31.50
                           VOICEMAIL FROM B. KANE RE:




             10/31/16      CRAIG A. WELIN                                0.2          $90.00
                                                       I
                           REVIEW OF THE DRAFT RECEIVER'S
                           STATEMENT AND CLIENT DECLARATION.

             10/31/16      CHRISTOPHER CROWELL                           1. 9        $598.50
                           PREPARE STATUS UPDATE.




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                                   #:4021
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                LAWYERS
                                      1000 WILSHIRE BOULEVARD
                                          NINETEENTH FLOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID It XX-XXXXXXX
                                            www.Frandzel.com




             ROBB EVANS & ASSOCIATES LLC                            PAGE:   3
             FILE NO:    078410-0055                                NOVEMBER 9, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                   INVOICE # 396768




                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                             HOURS      AMOUNT

             10/31/16     CHRISTOPHER CROWELL                          0.2      $63.00
                          PHONE CALL WITH B. KANE RE:




                          Subtotal                                    4.6    $1,665.00
                                                                               f




                          ASSET ANALYSIS AND RECOVERY
            10/13/16      BRIAN L. BLOOM                              0.2       $63.00
                          DRAFT LETTER TO JACKLIN DADBIN RE:




            10/13/16      BRIAN L. BLOOM                              0.2    NO CHARGE
                          CALL WITH, AND EMAILS FROM/TO,
                          JACKLIN DADBIN RE:




                          Subtotal                                    0.2      $63.00



                          ASSET DISPOSITION
            10/03/16      CRAIG A. WELIN                              0.2      $90.00
                          TELEPHONE CALL FROM CLIENT



            10/03/16      CRAIG A. WELIN                              0.1      $45.00
                          PREPARATION OF MEMO TO ATTORNEY
                          SANDERSON RE VAHE'S NOTARIZATION
                          ISSUES.




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                                   #:4022
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                             LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                        NINETEENTH ELOOR
                                    LOS ANGELES, CA 90017-2427
                                                 tt
                                       FEDERAL ID XX-XXXXXXX
                                          www. I'randzel.coin




             ROBB EVANS & ASSOCIATES LLC                         PAGE:   4
             FILE NO:    078410-0055                             NOVEMBER 9, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                INVOICE # 396768




                                   ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                           HOURS    AMOUNT

             10/04/16     CRAIG A. WELIN                             0.2    •$90.00
                          REVIEW OF/RESPONSE TO MEMO FROM
                          ATTORNEY SANDERSON RE THE NOTE
                          SALE.  PREPARATION OF MEMO TO
                          CLIENT RE

            10/05/16      CRAIG A. WELIN                            0.2     $90.00
                          REVIEW OF/RESPONSE TO MEMOS RE THE
                          DOCUMENTATION FOR THE NOTE SALE.

            10/06/16      CRAIG A. WELIN                            0.3    $135.00
                          REVIEW OF/RESPONSE TO MEMOS FROM
                          CLIENT RE
                          TELEPHONE CALL TO CLIENT RE



            10/06/16      BRIAN L. BLOOM                            0.1     $31.50
                          EMAIL FROM BRICK KANE RE:



            10/07/16      BRIAN L. BLOOM                            0.2     $63.00
                          REVIEW DOCUMENTS RECEIVED FROM
                          RECEIVER

            10/10/16      CRAIG A. WELIN                            0.2     $90.00
                          REVIEW OF/RESPONSE TO MEMOS RE THE
                          NOTE SALE.

            10/11/16      CRAIG A. WELIN                            0.2     $90.00
                          PREPARATION OF INSTRUCTIONS RE
                          CLOSING THE NOTE SALE.




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                                   #:4023
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                        1000 WILSHIRE BOULEVARD
                                            NINETEENTH FLOOR
                                        LOS ANGELES, CA 90017-2427
                                           FEDERAL ID # XX-XXXXXXX
                                              www.Frandzel.com




              ROBB EVANS & ASSOCIATES LLC                            PAGE:   5
              FILE NO:    078410-0055                                NOVEMBER 9, 2016
              FTC V. SALE SLASH, LLC, ETC., ET AL.                   INVOICE # 396768




                                       ITEMIZED SERVICES (CONTINUED)

                 DATE        NAMES/ACTIVITY                          HOURS      AMOUNT

              10/11/16       CRAIG A. WELIN                            0.1      $45.00
                             REVIEW OF MEMOS RE THE NOTE SALE
                             CLOSING ISSUES.

             10/11/16        BRIAN L. BLOOM                            0.1      $31.50
                             FINALIZE MATTER

             10/11/16        BRIAN L. BLOOM                            0.2      $63.00
                             CALL WITH CARSON RASMUSSEN RE:
                             LOGISTICS FOR CLOSING

             10/11/16        BRIAN L. BLOOM                            0.1      $31.50
                             EMAIL FROM ANITA JEN RE: WIRING
                             INSTRUCTIONS FOR BUYER'S FUNDS

             10/11/16        BRIAN L. BLOOM                            0.2      $63.00
                             EMAILS TO/FROM BRICK KANE RE:



             1-0-/11/ I (>   BRIAN I,. BLOOM                           0. 1.
                             REVIEW EXECUTED DOCUMENTS RECEIVED
                             FROM SELLER

             10/12/16        BRIAN L. BLOOM                            0.3      $94.50
                             CALL WITH, AND EMAIL TO, ANITA JEN
                             RHL   l

             10/12/16        BRIAN L. BLOOM                            0.3      $94.50
                             EMAIL TO CARSON RASMUSSEN RE:
                             FORWARD SIGNED ORIGINALS OF
                             SELLER'S LOAN SALE AGREEMENT AND
                             CLOSING DOCUMENTS; PROVIDE WIRING
                             INSTRUCTIONS TO CLOSE




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                                   #:4024
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                 LAWYERS
                                       1000 WILSHIRE BOULEVARD
                                           NINETEENTH ELOOR
                                       LOS ANGELES, CA 90017-2427
                                                      li
                                          FEDERAL ID XX-XXXXXXX
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              ROBB EVANS & ASSOCIATES LLC                           PAGE:   6
              FILE NO:    078410-0055                               NOVEMBER 9, 2016
              FTC V. SALE SLASH, LLC, ETC., ET AL.                  INVOICE # 396768




                                     ITEMIZED SERVICES (CONTINUED)

                 DATE      NAMES/ACTIVITY                            HOURS      AMOUNT

              10/12/16     BRIAN L. BLOOM                              0.1     $31.50
                           VOICEMAIL MESSAGE WITH BRICK KANE
                           RE:




              10/12/16     BRIAN L. BLOOM                             0.1      $31.50
                           EMAILS FROM/TO ROSANN HARRIS RE:
                           FORWARDING BUYER'S AND SELLER'S
                           SIGNED COUNTERPARTS TO LOAN SALE
                           AGREEMENT AND CLOSING DOCUMENTS

             10/12/16      BRIAN L. BLOOM                             0.2      $63.00
                           DRAFT LETTER TO ROSANN HARRIS RE:
                           FURTHER HANDLING OF LOAN SALE
                           AGREEMENT AND CLOSING DOCUMENTS

             10/13/16      CRAIG A. WELIN                             0.2      $90.00
                           REVIEW OF/RESPONSE TO MEMOS RE
                           NOTE SALE ISSUES.      • • •"" • "

             10/13/16      BRIAN L. BLOOM                             0.2      $63.00
                           EMAILS FROM/TO CARSON RASMUSSEN
                           RE: STATUS OF WIRING FUNDS;
                           REQUEST WIRE OF ADDITIONAL $3,000
                           FOR SELLER'S FEES AND COSTS

             10/13/16      BRIAN L. BLOOM                             0.3      $94.50
                           CALL WITH, AND EMAILS FROM/T'
                           ANITA JEN RE:




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                                   #:4025
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                LAWYERS
                                      1000 WILSHIRE BOULEVARD
                                          NINETEENTH FLOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID II XX-XXXXXXX
                                            www.Frandzel.com




             ROBB EVANS & ASSOCIATES LLC                                    PAGE:   7
             FILE NO:    078410-0055                                        NOVEMBER 9, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                           INVOICE # 396768




                                     ITEMIZED SERVICES (CONTINUED)

                DATE      NAMES/ACTIVITY                                    HOURS           AMOUNT

             10/14/16     BRIAN L. BLOOM                                      0.1           $31.50
                          EMAIL TO ANITA JEN RE:




            10/21/16      CRAIG A. WELIN                                      0.7          $315.0.0
                          ANALYSIS RE NOTE SALE ISSUES.

                          Subtotal                                            5.0        $1,899.00



                          FEE/EMPLOYMENT APPLICATIONS
            10/17/16      CHRISTOPHER CROWELL                                 0.6          $189.00
                          REVISIONS TO FRANDZEL'S SEPTEMBER
                          INVOICE.

                          Subtotal                                            0.6          $189.00



                                                                    total    10. 4       $3,816.00

                                            TOTAL FOR SERVICES                           $3,816.00



                                            ITEMIZED COSTS
                                     Rate =   0.00    Quantity =                90
                                     PHOTOCOPY (COLOR)                                        2.40
                                     Rate =   0.60    Quantity =                     4
                                     Rate =   0.00    Quantity =               110
            10/13/16      263517     LITIGATION SUPPORT VENDORS -                             8.70
                                     Vendor: PACER SERVICE CENTER
                                     PACER CHARGES FOR THE MONTH
                                     OF SEPTEMBER 2016




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                                   #:4026
                           FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                              LAWYERS
                                    1000 W1LSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                    LOS ANGELES, CA 90017-2427
                                       FEDERAL ID tl XX-XXXXXXX
                                          www. Frandzel.com




              ROBB EVANS & ASSOCIATES LLC                          PAGE:   8
              FILE NO:    078410-0055                              NOVEMBER 9, 2016
              FTC V. SALE SLASH, LLC, ETC., ET AL.                 INVOICE # 396768




                                    ITEMIZED COSTS (CONTINUED)

             10/17/16      263535   LITIGATION SUPPORT VENDORS                  10.00
                                    Vendor: NATIONWIDE LEGAL, LLC
                                    -INV. 146889 -DELIVER
                                    COURTESY CPY JUDGE ANDERSON -
                                    US DC -
             10/17/16      263535   LITIGATION SUPPORT VENDORS -               10. 00
                                    Vendor: NATIONWIDE LEGAL, LLC
                                    -INV. 146889 -STIP RE CLAIMS
                                    - USDC -
             10/25/16      263609   DELIVERY / MESSENGERS -                    25.78
                                    Vendor: FEDEX -INV.
                                    5-568-35822 -ROSANN HARRIS -
                                    SEATTLE WA -
             10/25/16      263609   DELIVERY / MESSENGERS -                    16.43
                                    Vendor: FEDEX -INV.
                                    5-568-35822 -JACKLIN DADBIN -
                                    ROBB EVANS & ASSOC.  SUN
                                    VALLEY -

                                                     TOTAL COSTS              £73.31

                                                  TOTAL INVOICE            $3 ,889.31




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                                   #:4027
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                            LAWYERS
                                 1000 WILSHIRE BOULEVARD
                                    NINETEENTH FLOOR
                                 LOS ANGELES, CA 90017-2427
                                    FEDERAL ID # XX-XXXXXXX
                                        www. Frandzel.coin




             ROBB EVANS & ASSOCIATES LLC                                  PAGE:   9
             FILE NO:    078410-0055                                      NOVEMBER 9, 2016
             FTC V. SALE SLASH, LLC, ETC., ET AL.                         INVOICE # 396768




    ATTORNEY SUMMARY

                                   HOURS NOT                   HOURS       BILLED        BILL
                                     CHARGED                 CHARGED     PER HOUR      AMOUNT
    MICHAEL G. FLETCHER                      . 00                 . 10     450.00       45 . 00
    CRAIG A. WELIN                           . 00               3 . 90     450.00    1,755.00
    BRIAN L. BLOOM                           . 00               2 . 80     315.00      882.00
    CHRISTOPHER D. CROWELL                   . 00               3. 60      315.00    1,134.00
                                    —   ~
    TOTAL ALL ATTORNEYS                      . 00              10 . 40    366.92     3,816.00

                                                    TOTAL FOR SERVICES              $3,816.00

                                                         TOTAL FOR COSTS               $73.31

                                                    TOTAL THIS INVOICE              $3,889.31




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                                   #:4028
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                LAWYERS
                                      1000 WILSHIRE BOULEVARD
                                          NINETEENTH FLOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID It XX-XXXXXXX
                                            www.Fiandzel.com




 ROBB EVANS & ASSOCIATES LLC
 ATTN: BRICK KANE                                                   DECEMBER 14, 2016
 11450 SHELDON STREET                                               INVOICE # 397123
 SUN VALLEY, CA   91352-1121                                        0131




 FOR LEGAL SERVICES RENDERED THROUGH 11/30/16
 FILE NO: 078410-0055  FILE NAME: FTC V. SALE SLASH, LLC, ETC., ET AL.



 CONTACT: BRICK KANE


                                                          FEES       COSTS         TOTAL

                          PRIOR BALANCE         25,628.74           106.31     25,735.05

    PAYMENTS THRU Dec 14, 2016                             .00         .00              . 00

                              SUBTOTAL          25,628.74           106.31     25,735.05

                      CURRENT CHARGES             1,260.00           19.20      1,279.20

                   TOTAL BALANCE DUE            26,888.74           125.51     27,014.25




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                                   #:4029
                    FRANDZEL ROBINS BLOOM & CSAIO, L.C.
                                             LAWYERS
                                    1000 WILSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                    LOS ANGELES, CA 90017-2427
                                       FEDERAL ID #XX-XXXXXXX
                                          www.Frandzel.com




 ROBB EVANS & ASSOCIATES LLC
 ATTN: BRICK KANE                                                DECEMBER 14, 2016
 11450 SHELDON STREET                                            INVOICE # 397123
 SUN VALLEY, CA   91352-1121




             FOR LEGAL SERVICES RENDERED THROUGH 11/30/16

             FILE NO:       078410-0055      FTC V. SALE SLASH, LLC, ETC., ET AL.




                                           ITEMIZED SERVICES

                DATE      NAMES/ACTIVITY                             HOURS      AMOUNT

                          CASE ADMINISTRATION
            11/01/16      CRAIG A. WELIN                               0.2      $90.00
                          REVIEW OF/RESPONSE TO MEMOS RE
                          VARIOUS PAYMENTS.

            11/02/16      CRAIG A. WELIN                               0.3     $135.00
                          REVIEW OF MEMOS RE ISSUES RAISED
                          BY ATTORNEY SANDERSON. PREPARATION
                          OF"MEMO TO"ATTORNEYSANDERSON.

            11/03/16      CRAIG A. WELIN                               0.2      $90.00
                          TELEPHONE CALL FROM ATTORNEY
                          SANDERSON RE VARIOUS RECEIVERSHIP
                          ISSUES.

            11/03/16      CRAIG A. WELIN                               0.1      $45.00
                          REVIEW OF/RESPONSE TO MEMO FROM
                          ATTORNEY SANDERSON.

            11/07/16      CRAIG A. WELIN                               0.2      $90.00
                          TELEPHONE CALL FROM ATTORNEY
                          JOHNSON.




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                                   #:4030
                    FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                LAWYERS
                                      1000 WILSHIRE BOULEVARD
                                          NINETEENTH FLOOR
                                      LOS ANGELES, CA 90017-2427
                                         FEDERAL ID # XX-XXXXXXX
                                            www.Fraadzel.com




            ROBB EVANS & ASSOCIATES LLC                                    page:   2
            FILE NO:    078410-0055                                        december 14, 2016
            FTC V. SALE SLASH, LLC, ETC., ET AL.                           invoice # 397123




                                     ITEMIZED SERVICES ( c o n t i n u e d )

                DATE      NAMES/ACTIVITY                                       HOURS      AMOUNT

            11/18/16      CHRISTOPHER CROWELL                                   0.2       $63.00
                          ANALYSIS RE: TIMING FOR FILING
                          MOTION TO APPROVE FINAL REPORT AND
                          ACCOUNTING.

            11/28/16      CRAIG A. WELIN                                        0.3      $135.00
                          CONFERENCE CALL WITH CLIENTS RE


            11/28/16      CRAIG A. WELIN                                        0.6      $270.00
                          ANALYSIS RE FINAL ACCOUNTING
                          ISSUES. PREPARATION OF MEMO TO
                          CLIENTS.

            11/28/16      CHRISTOPHER CROWELL                                   0.5      $157.50
                          CONFERENCE CALL WITH RECEIVER
                          PERSONNEL A. JEN AND B. KANE RE:




            11/30/16      CRAIG A. WELIN                                        0.2       $90.00
                          REVIEW OF/ANALYSIS OF
                          DOCUMENTATION FROM ATTORNEY
                          SANDERSON. PREPARATION OF MEMO TO
                          CLIENTS.

                          Subtotal                                              2.8    $1,165.50


                          FEE/EMPLOYMENT APPLICATIONS
            11/08/16      CHRISTOPHER CROWELL                                   0.3      $94.50
                          REVISIONS TO OCTOBER INVOICE.

                          Subtotal                                              0.3      $94.50



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                                   #:4031
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                              LAWYERS
                                     1000 WILSHIRE BOULEVARD
                                        NINETEENTH FLOOR
                                     LOS ANGELES, C A 90017-2427
                                        FEDERAL ID ft XX-XXXXXXX
                                           www.Frandzel.com




              ROBB EVANS & ASSOCIATES LLC                            PAGE:   3
              FILE NO:    078410-0055                                DECEMBER 14, 2016
              FTC V. SALE SLASH, LLC, ETC., ET AL.                   INVOICE # 397123



                                    ITEMIZED SERVICES (CONTINUED)

                 DATE      NAMES/ACTIVITY                            HOURS       AMOUNT



                                                             TOTAL     3.1    $1,260.00

                                            TOTAL FOR SERVICES                $1,260.00


                                          ITEMIZED COSTS
                                    Rate = 0.00     Quantity =           73
             11/11/16      263813   LITIGATION SUPPORT VENDORS -                  19.20
                                    Vendor: PACER SERVICE CENTER
                                    -PACER CHARGES FOR THE MONTH
                                    OF OCTOBER -

                                                     TOTAL COSTS                 $19.20

                                                  TOTAL INVOICE               $1,279.20




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                                   #:4032
                     FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                           LAWYERS
                                  1000 WILSHIRE BOULEVARD
                                     NINETEENTH FLOOR
                                  LOS ANGELES, C A 90017-2427
                                     FEDERAL ID U XX-XXXXXXX
                                        www.Frandzel.com




              ROBB EVANS & ASSOCIATES LLC                             PAGE:   4
              FILE NO:    078410-0055                                 DECEMBER 14, 2016
              FTC V. SALE SLASH, LLC, ETC., ET AL.                    INVOICE # 397123




     ATTORNEY SUMMARY

                                    HOURS NOT             HOURS        BILLED        BILL
                                      CHARGED           CHARGED      PER HOUR      AMOUNT
     CRAIG A. WELIN                          . 0 0         2.10        450.00      945.00
     CHRISTOPHER D. CROWELL                  . 0 0         1 . 0 0     315.00      315.00

     TOTAL ALL ATTORNEYS                     .00           3.10       406.45     1,260.00

                                                     TOTAL FOR SERVICES         $1,260.00

                                                        TOTAL FOR COSTS            $19.20

                                                     TOTAL THIS INVOICE         $1,279.20




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